     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 1
                                                        Filed 02/10/17   of 102
                                                                       Page  1 of 102



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

   IN RE: XARELTO (RIVAROXABAN)        *           MDL 2592
   PRODUCTS LIABILITY LITIGATION       *
                                       *           SECTION L
   THIS DOCUMENT RELATES TO:           *
         ALL CASES                     *           JUDGE ELDON E. FALLON
                                       *
                                       *           MAG. JUDGE NORTH
                                       *
   ************************


                               EXHIBIT 14 TO
          PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
           FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                       FROM OTHER ANTICOAGULANTS




    FILED UNDER SEAL




                                                                             USCA5 1398
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 2
                                                        Filed 02/10/17   of 102
                                                                       Page  2 of 102




                                                                             USCA5 1399
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 3
                                                        Filed 02/10/17   of 102
                                                                       Page  3 of 102




                                                                             USCA5 1400
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 4
                                                        Filed 02/10/17   of 102
                                                                       Page  4 of 102




                                                                             USCA5 1401
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 5
                                                        Filed 02/10/17   of 102
                                                                       Page  5 of 102




                                                                             USCA5 1402
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 6
                                                        Filed 02/10/17   of 102
                                                                       Page  6 of 102




                                                                             USCA5 1403
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 7
                                                        Filed 02/10/17   of 102
                                                                       Page  7 of 102




                                                                             USCA5 1404
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 8
                                                        Filed 02/10/17   of 102
                                                                       Page  8 of 102




                                                                             USCA5 1405
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 9
                                                        Filed 02/10/17   of 102
                                                                       Page  9 of 102




                                                                             USCA5 1406
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 10
                                                        Filed 02/10/17    of 102
                                                                       Page  10 of 102




                                                                             USCA5 1407
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 11
                                                        Filed 02/10/17    of 102
                                                                       Page  11 of 102




                                                                             USCA5 1408
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 12
                                                        Filed 02/10/17    of 102
                                                                       Page  12 of 102




                                                                             USCA5 1409
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 13
                                                        Filed 02/10/17    of 102
                                                                       Page  13 of 102




                                                                             USCA5 1410
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 14
                                                        Filed 02/10/17    of 102
                                                                       Page  14 of 102




                                                                             USCA5 1411
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 15
                                                        Filed 02/10/17    of 102
                                                                       Page  15 of 102




                                                                             USCA5 1412
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 16
                                                        Filed 02/10/17    of 102
                                                                       Page  16 of 102




                                                                             USCA5 1413
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 17
                                                        Filed 02/10/17    of 102
                                                                       Page  17 of 102




                                                                             USCA5 1414
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 18
                                                        Filed 02/10/17    of 102
                                                                       Page  18 of 102




                                                                             USCA5 1415
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 19
                                                        Filed 02/10/17    of 102
                                                                       Page  19 of 102




                                                                             USCA5 1416
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 20
                                                        Filed 02/10/17    of 102
                                                                       Page  20 of 102




                                                                             USCA5 1417
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 21
                                                        Filed 02/10/17    of 102
                                                                       Page  21 of 102




                                                                             USCA5 1418
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 22
                                                        Filed 02/10/17    of 102
                                                                       Page  22 of 102




                                                                             USCA5 1419
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 23
                                                        Filed 02/10/17    of 102
                                                                       Page  23 of 102




                                                                             USCA5 1420
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 24
                                                        Filed 02/10/17    of 102
                                                                       Page  24 of 102




                                                                             USCA5 1421
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 25
                                                        Filed 02/10/17    of 102
                                                                       Page  25 of 102




                                                                             USCA5 1422
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 26
                                                        Filed 02/10/17    of 102
                                                                       Page  26 of 102




                                                                             USCA5 1423
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 27
                                                        Filed 02/10/17    of 102
                                                                       Page  27 of 102




                                                                             USCA5 1424
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 28
                                                        Filed 02/10/17    of 102
                                                                       Page  28 of 102




                                                                             USCA5 1425
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 29
                                                        Filed 02/10/17    of 102
                                                                       Page  29 of 102




                                                                             USCA5 1426
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 30
                                                        Filed 02/10/17    of 102
                                                                       Page  30 of 102




                                                                             USCA5 1427
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 31
                                                        Filed 02/10/17    of 102
                                                                       Page  31 of 102




                                                                             USCA5 1428
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 32
                                                        Filed 02/10/17    of 102
                                                                       Page  32 of 102




                                                                             USCA5 1429
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 33
                                                        Filed 02/10/17    of 102
                                                                       Page  33 of 102




                                                                             USCA5 1430
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 34
                                                        Filed 02/10/17    of 102
                                                                       Page  34 of 102




                                                                             USCA5 1431
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 35
                                                        Filed 02/10/17    of 102
                                                                       Page  35 of 102




                                                                             USCA5 1432
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 36
                                                        Filed 02/10/17    of 102
                                                                       Page  36 of 102




                                                                             USCA5 1433
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 37
                                                        Filed 02/10/17    of 102
                                                                       Page  37 of 102




                                                                             USCA5 1434
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 38
                                                        Filed 02/10/17    of 102
                                                                       Page  38 of 102




                                                                             USCA5 1435
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 39
                                                        Filed 02/10/17    of 102
                                                                       Page  39 of 102




                                                                             USCA5 1436
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 40
                                                        Filed 02/10/17    of 102
                                                                       Page  40 of 102




                                                                             USCA5 1437
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 41
                                                        Filed 02/10/17    of 102
                                                                       Page  41 of 102




                                                                             USCA5 1438
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 42
                                                        Filed 02/10/17    of 102
                                                                       Page  42 of 102




                                                                             USCA5 1439
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 43
                                                        Filed 02/10/17    of 102
                                                                       Page  43 of 102




                                                                             USCA5 1440
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 44
                                                        Filed 02/10/17    of 102
                                                                       Page  44 of 102




                                                                             USCA5 1441
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 45
                                                        Filed 02/10/17    of 102
                                                                       Page  45 of 102




                                                                             USCA5 1442
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 46
                                                        Filed 02/10/17    of 102
                                                                       Page  46 of 102




                               EXHIBIT “A”




                                                                             USCA5 1443
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 47
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  47 of 102
                                                                          Sammy Khatib, M.D.
                                                                           Reliance Material
                                                                                                                                   Designation
                              Document       Date of     Source of                                                                    Under       Publically
    Expert       Date Sent                                                      Document Description                 Bates Range                                  Comments
                               Category     Document     Document                                                                   Protective    Available
                                                                                                                                      Order
Khatib, Sammy,               Deposition                              Deposition transcript of Kenneth Wong,
                 11/6/2016                  07/11/2016                                                                             Confidential    FALSE
M.D.                         Transcript                              M.D.
Khatib, Sammy,               Deposition
                 11/6/2016                  09/27/2016               Deposition transcript of Timothy Alvin, M.D.                  Confidential    FALSE
M.D.                         Transcript
Khatib, Sammy,               Deposition
                 11/6/2016                  09/22/2016               Deposition transcript of Peter Fail, M.D.                     Confidential    FALSE
M.D.                         Transcript
Khatib, Sammy,               Deposition
                 11/5/2016                  07/07/2016               Deposition Transcript of Cuong Bui, M.D.                      Confidential    FALSE
M.D.                         Transcript
Khatib, Sammy,               Deposition                              Deposition transcript of MAURICE ST.
                 11/5/2016                  06/27/2016                                                                             Confidential    FALSE
M.D.                         Transcript                              MARTIN, M.D.
Khatib, Sammy,                                                       Expert Report of Henry Michael Rinder,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 M.D. (Boudreaux Specific)
Khatib, Sammy,                                                       General Expert Report of Frank W. Smart,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 MD, FACC, FACP
Khatib, Sammy,                                                       General Expert Report of Henry Michael
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 Rinder, M.D.
Khatib, Sammy,                                                       General Expert Report of Phillip S. Cuculich,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 M.D.
Khatib, Sammy,                                                       General Expert Report of Edward S. Peters,
                 11/15/2016 Expert Report   10/12/2016                                                                             Confidential    FALSE
M.D.                                                                 D.M.D, S.M., Sc.D.
Khatib, Sammy,                                                       Expert Report of Cindy Leissinger
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 (Boudreaux Specific)
Khatib, Sammy,                                                       General Expert Report of Cindy Leissinger,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 M.D.
                                                                     Kripalani, S., Yao, X., & Haynes, R. B. (2007).
                                                                     Interventions to enhance medication
Khatib, Sammy,
                             Literature       2007       Journal     adherence in chronic medical conditions: A None                                TRUE       Report citation
M.D.
                                                                     systematic review. Archives of internal
                                                                     medicine, 167(6), 540-549.




                                                                                                                     USCA5 1444
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 48
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  48 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                Designation
                              Document     Date of   Source of                                                                     Under      Publically
    Expert       Date Sent                                                  Document Description                  Bates Range                                 Comments
                               Category   Document   Document                                                                    Protective   Available
                                                                                                                                   Order
                                                                 Kamal, A. H., Tefferi, A., & Pruthi, R. K.
                                                                 (2007, July). How to interpret and pursue an
Khatib, Sammy,                                                   abnormal prothrombin time, activated
                             Literature     2007     Journal                                                  None                              TRUE       Report citation
M.D.                                                             partial thromboplastin time, and bleeding
                                                                 time in adults. In Mayo Clinic Proceedings
                                                                 (Vol. 82, No. 7, pp. 864-873). Elsevier.

                                                                 Patel, M.R., Mahaffey, K.W., Garg, J., Pan,
                                                                 G., Singer, D.E., Hacke, W., Breithardt, G.,
                                                                 Halperin, J.L., Hankey, G.J., Piccini, J.P. &
Khatib, Sammy,
                             Literature     2011     Journal     Becker, R.C. (2011). Rivaroxaban versus         None                           TRUE       Report citation
M.D.
                                                                 warfarin in nonvalvular atrial fibrillation.
                                                                 New England Journal of Medicine, 365(10),
                                                                 883-891.

                                                                 Shuaib, W. (2014). Warfarin therapy: Survey
Khatib, Sammy,
                             Literature     2014     Journal     of patients’ knowledge of their drug         None                              TRUE       Report citation
M.D.
                                                                 regimen. Malays. J. Med. Sci., 21(4), 37-41.
                                                                 Hafner, J. W., Belknap, S. M., Squillante, M.
                                                                 D., & Bucheit, K. A. (2002). Adverse drug
Khatib, Sammy,
                             Literature     2002     Journal     events in emergency department patients.        None                           TRUE       Report citation
M.D.
                                                                 Annals of emergency medicine, 39(3), 258-
                                                                 267;
                                                                 Shuaib, W. (2014). Warfarin therapy: Survey
Khatib, Sammy,
                             Literature     2014     Journal     of patients’ knowledge of their drug        None                               TRUE       Report citation
M.D.
                                                                 regimen. Malays J Med Sci. 21(4), 37-41.
                                                                 Flockhart, D. A., O'Kane, D., Williams, M. S.,
                                                                 Watson, M. S., Gage, B., Gandolfi, R., ... &
Khatib, Sammy,                                                   Veenstra, D. (2008). Pharmacogenetic
                             Literature     2008     Journal                                                    None                            TRUE       Report citation
M.D.                                                             testing of CYP2C9 and VKORC1 alleles for
                                                                 warfarin. Genetics in Medicine, 10(2), 139-
                                                                 150.




                                                                                                                 USCA5 1445
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 49
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  49 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                             Designation
                              Document     Date of   Source of                                                                  Under      Publically
    Expert       Date Sent                                                 Document Description                Bates Range                                 Comments
                               Category   Document   Document                                                                 Protective   Available
                                                                                                                                Order
                                                                 Weitz, P. & Gross, P. (2012). New oral
Khatib, Sammy,                                                   anticoagulants: which one should my
                             Literature     2012     Journal                                                  None                           TRUE       Report citation
M.D.                                                             patient use? American Society of
                                                                 Hematology, 536-540.
                                                                 Kaminsky, L., & Zhang, Z. Y. (1997). Human
Khatib, Sammy,
                             Literature     1997     Journal     P450 metabolism of warfarin. Pharmacol       None                           TRUE       Report citation
M.D.
                                                                 Ther., 73(1), 67-74.
                                                                 Mueck, W., Schwers, S., & Stampfuss, J.
                                                                 (2013). Rivaroxaban and other novel oral
Khatib, Sammy,                                                   anticoagulants: pharmacokinetics in healthy
                             Literature     2013     Journal                                                 None                            TRUE       Report citation
M.D.                                                             subjects, specific patient populations and
                                                                 relevance of coagulation monitoring.
                                                                 Thrombosis journal, 11(1), 1-17.

                                                                 Girgis, I. G., Patel, M. R., Peters, G. R.,
                                                                 Moore, K. T., Mahaffey, K. W., Nessel, C. C.,
                                                                 ... & Becker, R. C. (2014). Population
Khatib, Sammy,                                                   pharmacokinetics and pharmacodynamics
                             Literature     2014     Journal                                                   None                          TRUE       Report citation
M.D.                                                             of rivaroxaban in patients with non‐valvular
                                                                 atrial fibrillation: Results from ROCKET AF.
                                                                 The Journal of Clinical Pharmacology, 54(8),
                                                                 917-927
                                                                 O’Brien, E. C., Simon, D. N., Allen, L. A.,
                                                                 Singer, D. E., Fonarow, G. C., Kowey, P. R., ...
                                                                 & Piccini, J. P. (2014). Reasons for warfarin
Khatib, Sammy,
                             Literature     2014     Journal     discontinuation in the outcomes registry for None                           TRUE       Report citation
M.D.
                                                                 better informed treatment of atrial
                                                                 fibrillation (ORBIT-AF). American heart
                                                                 journal, 168(4), 487-494.




                                                                                                              USCA5 1446
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 50
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  50 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                   Designation
                              Document     Date of   Source of                                                                        Under      Publically
    Expert       Date Sent                                                  Document Description                     Bates Range                                 Comments
                               Category   Document   Document                                                                       Protective   Available
                                                                                                                                      Order
                                                                 Kimmel, S. E., Chen, Z., Price, M., Parker, C.
                                                                 S., Metlay, J. P., Christie, J. D., ... & Gross, R.
                                                                 (2007). The influence of patient adherence
Khatib, Sammy,                                                   on anticoagulation control with warfarin:
                             Literature     2007     Journal                                                         None                          TRUE       Report citation
M.D.                                                             results from the International Normalized
                                                                 Ratio Adherence and Genetics (IN-RANGE)
                                                                 Study. Archives of Internal Medicine,
                                                                 167(3), 229-235.

                                                                 Masic, I., Miokovic, M., & Muhamedagic, B.
Khatib, Sammy,                                                   (2008). Evidence based medicine-new
                             Literature     2008     Journal                                                None                                   TRUE       Report citation
M.D.                                                             approaches and challenges. Acta
                                                                 Informatica Medica, 16(4), 219.

                                                                 Parekh, PJ, Merrell, J., Clary, M., Brush, J.E.,
Khatib, Sammy,                                                   & Johnson, D.A. (2014). New Anticoagulants
                             Literature     2014     Journal                                                        None                           TRUE       Report citation
M.D.                                                             and Antiplatelet Agents. Am J
                                                                 Gastroenterol., 109(1):9-19.
                                                                 January, C.T., Wann, L.S., Alpert, J.S.,
                                                                 Calkins, H., Cigarroa, J.E., Conti, J.B., Ellinor,
                                                                 P.T., Ezekowitz, M.D., Field, M.E., Murray,
                                                                 K.T. & Sacco, R.L. (2014). 2014
                                                                 AHA/ACC/HRS guideline for the
Khatib, Sammy,                                                   management of patients with atrial
                             Literature     2014     Journal                                                        None                           TRUE       Report citation
M.D.                                                             fibrillation: A report of the American
                                                                 College of Cardiology/American Heart
                                                                 Association Task Force on Practice
                                                                 Guidelines and the Heart Rhythm Society.
                                                                 Journal of the American College of
                                                                 Cardiology, 64(21), e1-76.




                                                                                                                   USCA5 1447
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 51
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  51 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                 Designation
                              Document     Date of   Source of                                                                      Under      Publically
    Expert       Date Sent                                                  Document Description                   Bates Range                                 Comments
                               Category   Document   Document                                                                     Protective   Available
                                                                                                                                    Order
                                                                 Beyer-Westendorf, J., Förster, K., Pannach,
                                                                 S., Ebertz, F., Gelbricht V., Thieme, C.,
                                                                 Michalski, F., Köhler, C., Werth, S., Sahin, K.,
Khatib, Sammy,                                                   Tittl, L., Hänsel, U., & Weiss, N. (2014 Aug).
                 10/4/2016 Literature                                                                             n/a                            TRUE
M.D.                                                             Rates, management, and outcome of
                                                                 rivaroxaban bleeding in daily care: results
                                                                 from the Dresden NOAC registry. Blood,
                                                                 124(6), 955-962.

                                                                 Perzborn, E., Roehrig, S., Straub, A.,
                                                                 Kubitzza, B., Mueck, W., Laux, V. (2010).
Khatib, Sammy,
                             Literature     2010     Journal     Rivaroxaban: A New Oral Factor Xa               None                            TRUE       Report citation
M.D.
                                                                 Inhibitor. Arteriosclerosis, Thrombosis, and
                                                                 Vascular Biology, 30, 376-381.
                                                                 Bushra, R., Aslam, N., & Khan, A. (2011).
                                                                 Food-drug interactions. Oman Medical
                                                                 Journal, 26 (2), 77-83. Retrieved from URL
                                                                 https://www.ncbi.nlm.nih.gov/pmc/articles/
Khatib, Sammy,                                                   PMC3191675/; NIH. Important information
                             Literature     2011     Journal                                                None                                 TRUE       Report citation
M.D.                                                             to know when you are taking: Warfarin
                                                                 (Coumadin) and vitamin K. Retrieved from
                                                                 URL
                                                                 http://www.cc.nih.gov/ccc/patient_educatio
                                                                 n/drug_nutrient/coumadin1.pdf
                                                                 Kaminsky, L., & Zhang, Z. Y. (1997). Human
Khatib, Sammy,
                             Literature     1997     Journal     P450 metabolism of warfarin. Pharmacol     None                                 TRUE       Report citation
M.D.
                                                                 Ther., 73(1), 67-74




                                                                                                                  USCA5 1448
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 52
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  52 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                              Designation
                              Document     Date of   Source of                                                                   Under      Publically
    Expert       Date Sent                                                 Document Description                 Bates Range                                 Comments
                               Category   Document   Document                                                                  Protective   Available
                                                                                                                                 Order
                                                                 Laliberté, F., Cloutier, M., Nelson, W. W.,
                                                                 Coleman, C. I., Pilon, D., Olson, W. H., &
                                                                 Lefebvre, P. (2014). Real-world comparative
Khatib, Sammy,
                 10/7/2016 Literature                            effectiveness and safety of rivaroxaban and n/a                              TRUE
M.D.
                                                                 warfarin in nonvalvular atrial fibrillation
                                                                 patients. Current medical research and
                                                                 opinion, 30(7), 1317-1325.
                                                                 Camm, A.J., Amarenco, P., Haas, S., Hess, S.,
                                                                 Kirchhof, P., Kuhls, S., van Eickels, M., &
                                                                 Turpie, A.G. (2015). Appendix and
Khatib, Sammy,                                                   supplementary information of XANTUS: a
                 10/7/2016 Literature                                                                          n/a                            TRUE
M.D.                                                             real-world, prospective, observational study
                                                                 of patients treated with rivaroxaban for
                                                                 stroke prevention in atrial fibrillation.
                                                                 European heart journal, 37(14), 1-8.

                                                                 Bushra, R., Aslam, N., & Khan, A. (2011).
                                                                 Food-drug interactions. Oman Medical
Khatib, Sammy,
                             Literature     2011     Journal     Journal, 26 (2), 77-83. Retrieved from URL None                              TRUE       Report citation
M.D.
                                                                 https://www.ncbi.nlm.nih.gov/pmc/articles/
                                                                 PMC3191675/
Khatib, Sammy,
               11/15/2016 Literature      9/26/16    FDA         FDA ROCKET AF Reanalysis Reviews.pdf         None                            TRUE
M.D.
                                                                 National Institutes of Health (NIH).
                                                                 Important information to know when you
                                                                 are taking: Warfarin (Coumadin) and
Khatib, Sammy,
                             Literature              Journal     vitamin K. Patient Education: Medications. None                              TRUE       Report citation
M.D.
                                                                 Retrieved from URL
                                                                 http://www.cc.nih.gov/ccc/patient_educatio
                                                                 n/drug_nutrient/coumadin1.pdf




                                                                                                               USCA5 1449
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 53
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  53 of 102
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
                                                                                                                              Designation
                             Document     Date of     Source of                                                                  Under      Publically
    Expert       Date Sent                                                  Document Description                Bates Range                              Comments
                              Category   Document     Document                                                                 Protective   Available
                                                                                                                                 Order
                                                                  Camm, A.J., Amarenco, P., Haas, S., Hess, S.,
                                                                  Kirchhof, P., Kuhls, S., van Eickels, M., &
                                                                  Turpie, A.G. (2015). XANTUS: a real-world,
Khatib, Sammy,
                 10/7/2016 Literature                             prospective, observational study of patients n/a                            TRUE
M.D.
                                                                  treated with rivaroxaban for stroke
                                                                  prevention in atrial fibrillation. European
                                                                  heart journal, 37(14), 1145-1153.
                                                                  XANTUS: a real-world, prospective,
                                                                  observational study of patients treated with
                                                                  rivaroxaban for stroke prevention in atrial
                                                      http://eurh ﬁbrillation
Khatib, Sammy,                                        eartj.oxfor
               11/10/2016 Literature     09/01/2015                                                                                          FALSE
M.D.                                                  djournals.o A. John Camm, Pierre Amarenco, Sylvia
                                                      rg          Haas, Susanne Hess, Paulus Kirchhof, Silvia
                                                                  Kuhls, Martin van Eickels, and Alexander
                                                                  G.G. Turpie, on behalf of the XANTUS
                                                                  Investigators
                                                                  Hospitalizations and Other Health Care
                                                                   Resource Utilization Among Patients with
                                                                   Deep Vein Thrombosis Treated with
                                                                   Rivaroxaban Versus Low-molecular-weight
                                                      http://dx.d
                                                                   Heparin and Warfarin in the Outpatient
                                                      oi.org/10.1
Khatib, Sammy,                                                     Setting
               11/10/2016 Literature     07/01/2016   016/j.clinth                                                                           FALSE
M.D.                                                               Steven Deitelzweig, MD1; Fran¸cois
                                                      era.2016.0
                                                                   Laliberte´, MA; Concetta Crivera,
                                                      7.002
                                                                   MPH;Guillaume Germain, MA; Brahim K.
                                                                   Bookhart, MBA, MPH3; William H. Olson,
                                                                   PhD; Jeffrey Schein, PhD; and Patrick
                                                                   Lefebvre, MA




                                                                                                               USCA5 1450
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 54
                                                                                Filed 02/10/17    of 102
                                                                                               Page  54 of 102
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
                                                                                                                                 Designation
                            Document     Date of     Source of                                                                      Under      Publically
    Expert      Date Sent                                                    Document Description                  Bates Range                              Comments
                             Category   Document     Document                                                                     Protective   Available
                                                                                                                                    Order
                                                                 Ischaemic and haemorrhagic stroke
                                                                 associated with non-vitamin K antagonist
                                                                 oral anticoagu-lants and warfarin use in
                                                                 patients with atrial fibrillation: a nationwide
                                                     http://eurh
                                                                 cohort study
Khatib, Sammy,                                       eartj.oxfor
               11/10/2016 Literature    09/21/2016               Laila Staerk, Emil Loldrup Fosbøl, Gregory                                     FALSE
M.D.                                                 djournals.o
                                                                 Y.H. Lip, Morten Lamberts, Anders Nissen
                                                     rg
                                                                 Bonde, Christian Torp-Pedersen, Brice
                                                                 Ozenne, Thomas Alexander Gerds, Gunnar
                                                                 Hilmar Gislason, and
                                                                 Jonas Bjerring Olesen
                                                                  Major bleeding risk among non- valvular
                                                                  atrial fibrillation patients initiated on
                                                                  apixaban, dabigatran, rivaroxaban or
                                                     wileyonline
                                                                  warfarin: a “real- world” observational
Khatib, Sammy,                                       library.com
               11/10/2016 Literature    07/01/2016                study in the United States                                                    FALSE
M.D.                                                 /journal/ijc
                                                                  Gregory Y. H. Lip, Xianying Pan, Shital
                                                     p
                                                                  Kamble, Hugh Kawabata,
                                                                  Jack Mardekian, Cristina Masseria, Amanda
                                                                  Bruno, Hemant Phatak
                                                                 Meta‐Analysis of Efﬁcacy and Safety of New
                                                                 Oral Anticoagulants
                                                     http://dx.d
                                                                 (Dabigatran, Rivaroxaban, Apixaban) Versus
                                                     oi.org/10.1
Khatib, Sammy,                                                   Warfarin in Patients With Atrial Fibrillation
               11/10/2016 Literature    03/17/2012   016/j.amjc                                                                                 FALSE
M.D.                                                             Corey S. Miller, BAa,c, Sonia M. Grandi,
                                                     ard.2012.0
                                                                 MSca, Avi Shimony, MDa,b,d, Kristian B.
                                                     3.049
                                                                 Filion, PhDa, and Mark J. Eisenberg, MD,
                                                                 MPHa,b,c,*




                                                                                                                   USCA5 1451
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 55
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  55 of 102
                                                                         Sammy Khatib, M.D.
                                                                          Reliance Material
                                                                                                                                     Designation
                              Document     Date of     Source of                                                                        Under      Publically
    Expert       Date Sent                                                     Document Description                    Bates Range                                 Comments
                               Category   Document     Document                                                                       Protective   Available
                                                                                                                                        Order

                                                                   Real-World comparative effectiveness and
                                                       http://dx.d safety of rivaroxaban and warfarin in
                                                       oi.org/10.1 nonvalvular atrial fibrillation patients
Khatib, Sammy,
               11/10/2016 Literature      04/02/2014   185/03007 Francois Laliberte', Michel Cloutier, Winnie                                       FALSE
M.D.
                                                       995.2014.9 W. Nelson, Craig L. Coleman, Dominic Pilon,
                                                       07140       William H. Olson, C.V. Damaraju, Jeffrey R.
                                                                   Schein & Patrick Lefebvre


                                                                   Real-world comparison of major bleeding
                                                                   risk among non-valvular atrial fibrillation
                                                       http://dx.d patients initiated on apixaban, dabigatran,
Khatib, Sammy,                                         oi.org/10.1 rivaroxaban, or warfarin A propensity score
               11/10/2016 Literature      07/27/2016                                                                                                FALSE
M.D.                                                   160/TH16- matched analysis
                                                       05-0403     Gregory Y. H. Lip; Allison Keshishian; Shital
                                                                   Kamble; Xianying Pan; Jack Mardekian;
                                                                   Ruslan Horblyuk; Melissa Hamilton


                                                                   Real-world evidence of stroke prevention in
                                                       http://dx.d
                                                                   patients with nonvalvular atrial fibrillation
                                                       oi.org/10.1
Khatib, Sammy,                                                     in the United States: the REVISIT-US study
               11/10/2016 Literature      09/20/2016   080/03007                                                                                    FALSE
M.D.                                                               Craig I. Coleman, Matthias Antz, Kevin
                                                       995.2016.1
                                                                   Bowrin, Thomas Evers, Edgar P. Simard,
                                                       237937
                                                                   Hendrik Bonnemeier & Riccardo Cappato

                                                                   Beyer-Westendorf, J., Förster, K., Pannach,
                                                                   S., Ebertz, F., Gelbricht, V., Thieme, C., ... &
Khatib, Sammy,                                                     Tittl, L. (2014). Rates, management, and
                             Literature     2014       Journal                                                        None                           TRUE       Report citation
M.D.                                                               outcome of rivaroxaban bleeding in daily
                                                                   care: results from the Dresden NOAC
                                                                   registry. Blood, 124(6), 955-962




                                                                                                                      USCA5 1452
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 56
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  56 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                 Designation
                              Document     Date of   Source of                                                                      Under      Publically
    Expert       Date Sent                                                  Document Description                   Bates Range                                 Comments
                               Category   Document   Document                                                                     Protective   Available
                                                                                                                                    Order
                                                                 Sievert, H., Lesh, M. D., Trepels, T., Omran,
                                                                 H., Bartorelli, A., Della Bella, P., ... &
                                                                 Kramer, P. (2002). Percutaneous left atrial
Khatib, Sammy,
                             Literature     2002     Journal     appendage transcatheter occlusion to             None                           TRUE
M.D.
                                                                 prevent stroke in high-risk patients with
                                                                 atrial fibrillation early clinical experience.
                                                                 Circulation, 105(16), 1887-1889.
                                                                 European Medicines Agency. (2016).
                                                                 Assessment Report: Xarelto. International
                                                                 non-proprietary name: rivaroxaban.
                                                                 Procedure no. EMEA/H/C/000944/LEG-037.
                                                                 Retrieved from URL
                                                                 http://www.google.com/url?sa=t&rct=j&q=
                                                                 &esrc=s&source=web&cd=1&cad=rja&uact=
Khatib, Sammy,
                             Literature     2016     Journal     8&ved=0ahUKEwj_5q2l8dDPAhUL9YMKHZX None                                         TRUE       Report citation
M.D.
                                                                 9CKwQFggcMAA&url=http%3A%2F%2Fwww
                                                                 .ema.europa.eu%2Fdocs%2Fen_GB%2Fdocu
                                                                 ment_library%2FEPAR_-
                                                                 _Assessment_Report_-
                                                                 _Variation%2Fhuman%2F000944%2FWC500
                                                                 201726.pdf&usg=AFQjCNElOB7BYX0uT4rLoK
                                                                 ELc3Qjv-1spA
                                                                 Lip, G. Y., Pan, X., Kamble, S., Kawabata, H.,
                                                                 Mardekian, J., Masseria, C... & Phatak, H.
                                                                 (2016). Major bleeding risk among
                                                                 non‐valvular atrial fibrillation patients
Khatib, Sammy,
                             Literature     2016     Journal     initiated on apixaban, dabigatran,             None                             TRUE       Report citation
M.D.
                                                                 rivaroxaban or warfarin: a “real‐world”
                                                                 observational study in the United States.
                                                                 International Journal of Clinical Practice,
                                                                 70(9), 752-763




                                                                                                                  USCA5 1453
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 57
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  57 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                 Designation
                              Document     Date of   Source of                                                                      Under      Publically
    Expert       Date Sent                                                  Document Description                   Bates Range                                 Comments
                               Category   Document   Document                                                                     Protective   Available
                                                                                                                                    Order
                                                                 Staerk, L., Fosbøl, E., Lip, G., Lamberts, M.,
                                                                 Bonde, A.N., Torp-Pedersen, C… & Jonas
                                                                 Bjerring Olesen. (2016). Ischaemic and
Khatib, Sammy,                                                   haemorrhagic stroke associated with non-
                             Literature              Journal                                                      None                           TRUE       Report citation
M.D.                                                             vitamin K antagonist oral anticoagulants
                                                                 and warfarin use in patients with atrial
                                                                 fibrillation: a nationwide cohort study.
                                                                 European Heart Journal , ehw496

                                                                 Boriani, G., Valzania, C., Biffi, M.,
                                                                 Diemberger, I., Ziacchi, M., & Martignani, C.
Khatib, Sammy,
                             Literature     2015     Journal     (2015). Asymptomatic lone atrial fibrillation- None                             TRUE       Report citation
M.D.
                                                                 how can we detect the arrhythmia? Curr.
                                                                 Pharm. Des., 21 (5) ,659-66

                                                                 Yao X, Abraham NS, Sangaralingham LR,
                                                                 Bellolio MF, McBane RD, Shah ND,
                                                                 Noseworthy PA. Effectiveness and Safety of
Khatib, Sammy,
                             Literature     2016     Journal     Dabigatran, Rivaroxaban, and Apixaban      None                                 TRUE       Report citation
M.D.
                                                                 Versus Warfarin in Nonvalvular Atrial
                                                                 Fibrillation. J Am Heart Assoc. 2016 Jun
                                                                 13;5(6). pii: e003725.

                                                                 Olesen, J. B., Torp-Pedersen, C., Hansen, M.
                                                                 L., & Lip, G. Y. (2012). The value of the
                                                                 CHA2DS2-VASc score for refining stroke risk
Khatib, Sammy,
                             Literature     2012     Journal     stratification in patients with atrial       None                               TRUE       Report citation
M.D.
                                                                 fibrillation with a CHADS2 score 0–1: A
                                                                 nationwide cohort study. Thrombosis and
                                                                 haemostasis, 107(6), 1172-1179.




                                                                                                                  USCA5 1454
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 58
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  58 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                  Designation
                              Document     Date of   Source of                                                                       Under      Publically
    Expert       Date Sent                                                  Document Description                    Bates Range                                 Comments
                               Category   Document   Document                                                                      Protective   Available
                                                                                                                                     Order
                                                                 Piccini, J. P., Garg, J., Patel, M. R.,
                                                                 Lokhnygina, Y., Goodman, S. G., Becker, R.
                                                                 C., ... & Hankey, G. J. (2014). Management
Khatib, Sammy,
                             Literature     2014     Journal     of major bleeding events in patients treated None                                TRUE
M.D.
                                                                 with rivaroxaban vs. warfarin: Results from
                                                                 the ROCKET AF trial. European Heart
                                                                 Journal, 35(28), 1873-1880.

                                                                 Riccioni, M. E., Urgesi, R., Cianci, R., Rizzo,
                                                                 G., D’Angelo, L., Marmo, R., & Costamagna,
                                                                 G. (2013). Negative capsule endoscopy in
Khatib, Sammy,
                             Literature     2013     Journal     patients with obscure gastrointestinal          None                             TRUE
M.D.
                                                                 bleeding reliable: Recurrence of bleeding on
                                                                 long-term follow-up. World J Gastroenterol,
                                                                 19(28), 4520-4525.

                                                                 Amaro, R., & Barkin, J. S. (2000). Diagnostic
Khatib, Sammy,                                                   and therapeutic options in obscure
                             Literature     2000     Journal                                                       None                           TRUE
M.D.                                                             gastrointestinal blood loss. Current
                                                                 gastroenterology reports, 2(5), 395-398.

                                                                 Saini, S. D., Schoenfeld, P., Kaulback, K., &
                                                                 Dubinsky, M. C. (2009). Effect of medication
Khatib, Sammy,
                             Literature     2009     Journal     dosing frequency on adherence in chronic      None                               TRUE       Report citation
M.D.
                                                                 diseases. The American journal of managed
                                                                 care, 15(6), e22-33
                                                                 Dewar, H.A., & Weightman, D. (1983). A
Khatib, Sammy,                                                   study of embolism in mitral valve disease
                             Literature     1983     Journal                                                       None                           TRUE       Report citation
M.D.                                                             and atrial fibrillation. Br. Heart J., 49(2),
                                                                 133–140.
                                                                 Connolly S.J., et al. (2009). Supplement to:
Khatib, Sammy,                                                   Dabigatran versus warfarin in patients with
                             Literature     2009     Journal                                                       None                           TRUE       Report citation
M.D.                                                             atrial fibrillation. N. Engl. J. Med., 361(12),
                                                                 1139-1151.




                                                                                                                   USCA5 1455
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 59
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  59 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                  Designation
                              Document     Date of   Source of                                                                       Under      Publically
    Expert       Date Sent                                                   Document Description                   Bates Range                                 Comments
                               Category   Document   Document                                                                      Protective   Available
                                                                                                                                     Order
                                                                 Granger, et al. (2011). Apixaban versus
Khatib, Sammy,                                                   warfarin in patients with atrial fibrillation.
                             Literature     2011     Journal                                                      None                            TRUE       Report citation
M.D.                                                             The New England Journal of Medicine,
                                                                 365(11), 981-992.

                                                                 Ruff, C T, et al. (2010) Evaluation of the
                                                                 novel factor Xa inhibitor edoxaban
                                                                 compared with warfarin in patients with
                                                                 atrial fibrillation: Design and rationale of
Khatib, Sammy,
                             Literature     2010     Journal     the effective anticoagulation with favor XA None                                 TRUE       Report citation
M.D.
                                                                 next Generation in Atrial Fibrillation-
                                                                 Thrombolysis in Myocardial Infarction study
                                                                 48 (ENGAGE AF-TIMI 48). American Heart
                                                                 Journal October; 160(4):635-641 e2.

                                                                 Eikelboom, J.W., et al. (2013). Dabigatran
Khatib, Sammy,                                                   versus warfarin in patients with mechanical
                             Literature     2013     Journal                                                 None                                 TRUE       Report citation
M.D.                                                             heart valves. The New England Journal of
                                                                 Medicine, 369(13), 1206-1214.
                                                                 January, C.T., Wann, L.S., Alpert, J.S.,
                                                                 Calkins, H., Cigarroa, J.E., Conti, J.B., Ellinor,
                                                                 P.T., Ezekowitz, M.D., Field, M.E., Murray,
                                                                 K.T. & Sacco, R.L. (2014). 2014
                                                                 AHA/ACC/HRS guideline for the
Khatib, Sammy,                                                   management of patients with atrial
                             Literature     2014     Journal                                                        None                          TRUE       Report citation
M.D.                                                             fibrillation: Executive summary: a report of
                                                                 the American College of
                                                                 Cardiology/American Heart Association Task
                                                                 Force on Practice Guidelines and the Heart
                                                                 Rhythm Society. Journal of the American
                                                                 College of Cardiology, 64(21), 2246-80.




                                                                                                                  USCA5 1456
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 60
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  60 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                Designation
                              Document     Date of   Source of                                                                     Under      Publically
    Expert       Date Sent                                                  Document Description                  Bates Range                                 Comments
                               Category   Document   Document                                                                    Protective   Available
                                                                                                                                   Order
                                                                 Claxton, A. J., Cramer, J., & Pierce, C. (2001).
                                                                 A systematic review of the associations
Khatib, Sammy,
                             Literature     2001     Journal     between dose regimens and medication             None                          TRUE       Report citation
M.D.
                                                                 compliance. Clinical therapeutics, 23(8),
                                                                 1296-1310
                                                                 Iskedjian, M., Einarson, T. R., MacKeigan, L.
                                                                 D., Shear, N., Addis, A., Mittmann, N., &
                                                                 Ilersich, A. L. (2002). Relationship between
Khatib, Sammy,
                             Literature     2002     Journal     daily dose frequency and adherence to            None                          TRUE       Report citation
M.D.
                                                                 antihypertensive pharmacotherapy:
                                                                 Evidence from a meta-analysis. Clinical
                                                                 therapeutics, 24(2), 302-316

                                                                 Kardas, P. (2007). Comparison of patient
                                                                 compliance with once-daily and twice-daily
Khatib, Sammy,                                                   antibiotic regimens in respiratory tract
                             Literature     2007     Journal                                                    None                            TRUE       Report citation
M.D.                                                             infections: results of a randomized trial.
                                                                 Journal of Antimicrobial Chemotherapy,
                                                                 59(3), 531-536

                                                                 Singer, D. E., Hellkamp, A. S., Piccini, J. P.,
                                                                 Mahaffey, K. W., Lokhnygina, Y., Pan, G., ...
                                                                 & Hacke, W. (2013). Impact of global
Khatib, Sammy,                                                   geographic region on time in therapeutic
               11/12/2016 Literature        2013     Journal                                                     None                           TRUE
M.D.                                                             range on warfarin anticoagulant therapy:
                                                                 data from the ROCKET AF clinical trial.
                                                                 Journal of the American Heart Association,
                                                                 2(1), e000067, 1-22.
                                                                 Perzborn, E., roehrig, S., Straub, A., Kubitza,
                                                                 D., & Misselwitz, F. (2011). The discovery
Khatib, Sammy,
                             Literature     2011     Journal     and development of rivaroxaban, an oral,        None                           TRUE       Report citation
M.D.
                                                                 direct factor Xa inhibitor. Drug Discovery,
                                                                 10, 61-75




                                                                                                                 USCA5 1457
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 61
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  61 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                Designation
                              Document     Date of   Source of                                                                     Under      Publically
    Expert       Date Sent                                                  Document Description                  Bates Range                                 Comments
                               Category   Document   Document                                                                    Protective   Available
                                                                                                                                   Order
                                                                 Agnelli, G., Gallus, A., Goldhaber, S. Z., Haas,
                                                                 S., Huisman, M. V., Hull, R. D., ... & ODIXa-
                                                                 DVT Study Investigators. (2007). Treatment
                                                                 of proximal deep-vein thrombosis with the
Khatib, Sammy,                                                   oral direct factor Xa inhibitor rivaroxaban
                             Literature     2007     Journal                                                      None                          TRUE       Report citation
M.D.                                                             (BAY 59-7939): The ODIXa-DVT (Oral Direct
                                                                 Factor Xa Inhibitor BAY 59-7939 in patients
                                                                 with acute symptomatic deep-vein
                                                                 thrombosis) study. Circulation, 116(2), 180-
                                                                 187
                                                                 Buller, H. R., Lensing, A. W., Prins, M. H.,
                                                                 Agnelli, G., Cohen, A., Gallus, A. S., ... &
                                                                 Segers, A. (2008). A dose-ranging study
                                                                 evaluating once-daily oral administration of
Khatib, Sammy,
                             Literature     2008     Journal     the factor Xa inhibitor rivaroxaban in the   None                              TRUE       Report citation
M.D.
                                                                 treatment of patients with acute
                                                                 symptomatic deep vein thrombosis: The
                                                                 Einstein–DVT Dose-Ranging Study. Blood,
                                                                 112(6), 2242-2247
                                                                 Baker, W. L., Cios, D. A., Sander, S. D., &
                                                                 Coleman, C. I. (2009). Meta-analysis to
Khatib, Sammy,                                                   assess the quality of warfarin control in
                             Literature     2009     Journal                                                  None                              TRUE       Report citation
M.D.                                                             atrial fibrillation patients in the United
                                                                 States. Journal of Managed Care Pharmacy,
                                                                 15(3), 244-252
                                                                 ISIS-2 Collaborative Group. (1988).
                                                                 Randomised trial of intravenous
Khatib, Sammy,
                             Literature     1988     Journal     streptokinase, oral aspirin, both, or neither   None                           TRUE       Report citation
M.D.
                                                                 among 17 187 cases of suspected acute
                                                                 myocardial infarction. Lancet, ii, 349-360




                                                                                                                 USCA5 1458
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 62
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  62 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                 Designation
                              Document     Date of   Source of                                                                      Under      Publically
    Expert       Date Sent                                                  Document Description                   Bates Range                                 Comments
                               Category   Document   Document                                                                     Protective   Available
                                                                                                                                    Order
                                                                 Francart, S. J., Hawes, E. M., Deal, A. M.,
                                                                 Adcock, D. M., Gosselin, R., Jeanneret, C., ...
Khatib, Sammy,                                                   & Moll, S. (2014). Performance of
                             Literature     2014     Journal                                                     None                            TRUE       Report citation
M.D.                                                             coagulation tests in patients on therapeutic
                                                                 doses of rivaroxaban. Thrombosis and
                                                                 haemostasis, 111(6), 1133-1140

                                                                 Kirchhof, P., Benussi, S., Kotecha, D.,
                                                                 Ahlsson, A., Atar, D., Casadei, B., Castella,
                                                                 M., Diener, H.C., Heidbuchel, H., Hendriks,
Khatib, Sammy,
                             Literature     2016     Journal     J., Hindricks, G., et al. (2016). 2016 ESC      None                            TRUE       Report citation
M.D.
                                                                 Guidelines for the management of atrial
                                                                 fibrillation developed in collaboration with
                                                                 EACTS. Europace, euw295, 1-90
                                                                 Piccini, J. P., Stevens, S. R., Lokhnygina, Y.,
                                                                 Patel, M. R., Halperin, J. L., Singer, D. E., ...
                                                                 & Mahaffey, K. W. (2013). Outcomes after
Khatib, Sammy,                                                   cardioversion and atrial fibrillation ablation
                             Literature     2013     Journal                                                       None                          TRUE       Report citation
M.D.                                                             in patients treated with rivaroxaban and
                                                                 warfarin in the ROCKET AF trial. Journal of
                                                                 the American College of Cardiology, 61(19),
                                                                 1998-2006
                                                                 Camm, A.J., Amarenco, P., Haas, S., Hess, S.,
                                                                 Kirchhof, P., Kuhls, S., van Eickels, M. &
                                                                 Turpie, A.G. (2015). XANTUS: a real-world,
Khatib, Sammy,
                             Literature     2015     Journal     prospective, observational study of patients None                               TRUE       Report citation
M.D.
                                                                 treated with rivaroxaban for stroke
                                                                 prevention in atrial fibrillation. European
                                                                 heart journal , 1:ehv466, 1-9




                                                                                                                  USCA5 1459
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 63
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  63 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                   Designation
                              Document     Date of   Source of                                                                        Under      Publically
    Expert       Date Sent                                                  Document Description                     Bates Range                                 Comments
                               Category   Document   Document                                                                       Protective   Available
                                                                                                                                      Order
                                                                 Leiria, T. L., Lopes, R. D., Williams, J. B., Katz,
                                                                 J. N., Kalil, R. A., & Alexander, J. H. (2011).
                                                                 Antithrombotic therapies in patients with
Khatib, Sammy,
                             Literature     2011     Journal     prosthetic heart valves: guidelines                 None                          TRUE       Report citation
M.D.
                                                                 translated for the clinician. Journal of
                                                                 thrombosis and thrombolysis, 31(4), 514-
                                                                 522.
                                                                 Laliberté, F., Bookhart, B. K., Nelson, W. W.,
                                                                 Lefebvre, P., Schein, J. R., Rondeau-Leclaire,
                                                                 J., & Duh, M. S. (2013). Impact of once-daily
Khatib, Sammy,                                                   versus twice-daily dosing frequency on
                             Literature     2013     Journal                                                         None                          TRUE       Report citation
M.D.                                                             adherence to chronic medications among
                                                                 patients with venous thromboembolism.
                                                                 The Patient-Patient-Centered Outcomes
                                                                 Research, 6(3), 213-224

                                                                 Supplementary Material to Lip et al. “Real-
                                                                 world comparison of major bleeding risk
Khatib, Sammy,                                                   among non-valvular atrial fibrillation
               10/26/2016 Literature        2016                                                                                                  FALSE
M.D.                                                             patients initiated on apixaban, dabigatran,
                                                                 rivaroxaban, or warfarin. A propensity score
                                                                 matched analysis”

                                                                 Tamayo, S., Peacock, F.W., Patel, M.,
                                                                 Sicignano, N., Hopf, K.P., Fields, L.E., Sarich,
                                                                 T., Wu, S., Yannicelli, D. & Yuan, Z. (2015).
Khatib, Sammy,                                                   Characterizing major bleeding in patients
                 10/7/2016 Literature                                                                             n/a                              TRUE
M.D.                                                             with nonvalvular atrial fibrillation: A
                                                                 pharmacovigilance study of 27 467 patients
                                                                 taking rivaroxaban. Clinical cardiology,
                                                                 38(2), 63-68.




                                                                                                                   USCA5 1460
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 64
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  64 of 102
                                                                        Sammy Khatib, M.D.
                                                                         Reliance Material
                                                                                                                                 Designation
                             Document     Date of     Source of                                                                     Under      Publically
    Expert       Date Sent                                                    Document Description                 Bates Range                              Comments
                              Category   Document     Document                                                                    Protective   Available
                                                                                                                                    Order
                                                                Meta-Analysis of Efficacy and Safety of New
                                                                Oral Anticoagulants
                                                                (Dabigatran, Rivaroxaban, Apixaban) Versus
                                                                Warfarin in Patients
Khatib, Sammy,                                        www.ajcon
               10/26/2016 Literature       2012                 With Atrial Fibrillation                                                        FALSE
M.D.                                                  line.org
                                                                Corey S. Miller, BAa,c, Sonia M. Grandi,
                                                                MSca, Avi Shimony, Da,b,d, Kristian B.
                                                                Filion, PhDa, and Mark J. Eisenberg, MD,
                                                                MPHa,b,c,
                                                                Kubitza, D., Becka, M., Mueck, W., Halabi,
                                                                A., Maatouk, H., Klause, N., ... & Bruck, H.
                                                                (2010). Effects of renal impairment on the
Khatib, Sammy,
                 11/9/2016 Literature                 Journal   pharmacokinetics, pharmacodynamics and None                                      TRUE
M.D.
                                                                safety of rivaroxaban, an oral, direct Factor
                                                                Xa inhibitor. British journal of clinical
                                                                pharmacology, 70(5), 703-712.
                                                      http://ww
                                                      w.nejm.org
                                                                   Patel, M.R., Mahaffey, K.W., Garg, J., Pan,
                                                      /doi/suppl/
                                                                   G., Singer, D.E., Hacke, W., Breithardt, G.,
                                                      10.1056/N
                                                                   Halperin, J.L., Hankey, G.J., Piccini, J.P. &
Khatib, Sammy,                                        EJMoa1009
               10/19/2016 Literature       2011                    Becker, R.C. (2011). Rivaroxaban versus                                       TRUE
M.D.                                                  638/suppl_
                                                                   warfarin in nonvalvular atrial fibrillation:
                                                      file/nejmoa
                                                                   supplementary appendix. New England
                                                      1009638_a
                                                                   Journal of Medicine, 365(10), 883-891.
                                                      ppendix.pd
                                                      f
                                                                   Comparative Efficacy and Safety of New
                                                                   Oral Anticoagulants in Patients With Atrial
                                                      http://circo
                                                                   Fibrillation
Khatib, Sammy,                                        utcomes.ah
               10/26/2016 Literature     05/21/2012                Sebastian Schneeweiss, MD, ScD; Joshua J.                                    FALSE
M.D.                                                  ajournals.o
                                                                   Gagne, PharmD, ScD; Amanda R. Patrick,
                                                      rg
                                                                   MS; Niteesh K. Choudhry, MD, PhD; Jerry
                                                                   Avorn, MD




                                                                                                                   USCA5 1461
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 65
                                                                                Filed 02/10/17    of 102
                                                                                               Page  65 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                               Designation
                            Document     Date of     Source of                                                                    Under      Publically
    Expert      Date Sent                                                   Document Description                 Bates Range                              Comments
                             Category   Document     Document                                                                   Protective   Available
                                                                                                                                  Order
                                                                  Indirect Comparisons of New Oral
                                                                  Anticoagulant Drugs
                                                     http://dx.d for Efficacy and Safety When Used for
Khatib, Sammy,                                       oi.org/10.1 Stroke Prevention in Atrial Fibrillation
               10/26/2016 Literature    03/16/2012                                                                                            FALSE
M.D.                                                 016/j.jacc.2 Gregory Y. H. Lip, MD,*† Torben Bjerregaard
                                                     012.03.019 Larsen, MD, PHD,†‡ Flemming Skjøth,
                                                                  PHD,†‡
                                                                  Lars Hvilsted Rasmussen, MD, PHD
                                                                  Comparative effectiveness and safety of
                                                                  non-vitamin K antagonist
                                                                  oral anticoagulants and warfarin in patients
                                                     http://dx.d
                                                                  with atrial fibrillation:
Khatib, Sammy,                                       oi.org/10.1
               10/26/2016 Literature    05/20/2016                propensity weighted nationwide cohort                                       FALSE
M.D.                                                 136/bmj.i3
                                                                  study
                                                     189
                                                                  Torben Bjerregaard Larsen, Flemming
                                                                  Skjøth, Peter Brønnum Nielsen, Jette
                                                                  Nordstrøm Kjældgaard, Gregory Y H Lip
                                                                  Comparative effectiveness and safety of
                                                                  non-vitamin K antagonists oral
                                                                  anticoagulants (NOACs) and warfarin in
                                                                  daily clinical practice: A propensity
Khatib, Sammy,                                                    weighted nationwide cohort study.
               10/26/2016 Literature                                                                                                          FALSE
M.D.                                                              Supplementary material
                                                                  Torben Bjerregaard Larsen, MD, PhD,
                                                                  Flemming Skjøth, MSc, PhD, Peter Brønnum
                                                                  Nielsen, MSc, PhD, Jette Kjældgaard
                                                                  Nordstrøm, MSc, Gregory Y.H. Lip, MD




                                                                                                                 USCA5 1462
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 66
                                                                                Filed 02/10/17    of 102
                                                                                               Page  66 of 102
                                                                         Sammy Khatib, M.D.
                                                                          Reliance Material
                                                                                                                                 Designation
                            Document       Date of     Source of                                                                    Under      Publically
    Expert      Date Sent                                                     Document Description                 Bates Range                              Comments
                             Category     Document     Document                                                                   Protective   Available
                                                                                                                                    Order
                                                                   Real-world comparison of major bleeding
                                                                   risk among non-valvular
                                                                   atrial fibrillation patients initiated on
                                                       http://dx.d
                                                                   apixaban, dabigatran,
Khatib, Sammy,                                         oi.org/10.1
               10/26/2016 Literature     08/19/2016                rivaroxaban, or warfarin A propensity score                                  FALSE
M.D.                                                   160/TH16-
                                                                   matched analysis
                                                       05-0403
                                                                   Gregory Y. H. Lip, Allison Keshishian; Shital
                                                                   Kamble; Xianying Pan; Jack Mardekian;
                                                                   Ruslan Horblyuk; Melissa Hamilton
                                                                  Stroke, Bleeding, and Mortality Risks in
                                                                  Elderly Medicare
                                                                  Beneficiaries Treated With Dabigatran or
                                                                  Rivaroxaban for
                                          Published
                                                                  Nonvalvular Atrial Fibrillation
                                        online October
                                                       http://jam David J. Graham, MD, MPH; Marsha E.
Khatib, Sammy,                              3, 2016.
               10/26/2016 Literature                   anetwork.c Reichman, PhD; Michael Wernecke, BA; Ya-                                      FALSE
M.D.                                     Corrected on
                                                       om         Hui Hsueh, PhD; Rima Izem, PhD; Mary Ross
                                         October 17,
                                                                  Southworth, PharmD; YuqinWei, MS; Jiemin
                                              2016
                                                                  Liao, MA; Margie R. Goulding, PhD; Katrina
                                                                  Mott, MHS; Yoganand Chillarige,MPA;
                                                                  Thomas E. MaCurdy, PhD; ChrisWorrall, BS;
                                                                  Jeffrey A. Kelman, MD, MMSc
                                                                  Stroke, bleeding, and mortality risks in
                                                                  elderly Medicare beneficiaries treated with
                                                       http://jam
Khatib, Sammy,                                                    dabigatran or rivaroxaban for onvalvular
               10/26/2016 Literature     10/03/2016    anetwork.c                                                                               FALSE
M.D.                                                              atrial fibrillation.
                                                       om
                                                                  Graham DJ, Reichman ME, Wernecke M, et
                                                                  al.




                                                                                                                   USCA5 1463
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 67
                                                                                Filed 02/10/17    of 102
                                                                                               Page  67 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                              Designation
                            Document     Date of     Source of                                                                   Under      Publically
    Expert      Date Sent                                                   Document Description                Bates Range                              Comments
                             Category   Document     Document                                                                  Protective   Available
                                                                                                                                 Order
                                                                 XANTUS: a real-world, prospective,
                                                                 observational study of patients treated with
                                                                 rivaroxaban for stroke prevention in atrial
                                                     http://eurh
                                                                 fibrillation
Khatib, Sammy,                                       eartj.oxfor
               10/26/2016 Literature    08/20/2015               A. John Camm, Pierre Amarenco, Sylvia                                       FALSE
M.D.                                                 djournals.o
                                                                 Haas, Susanne Hess, Paulus Kirchhof, Silvia
                                                     rg
                                                                 Kuhls, Martin van Eickels, and Alexander
                                                                 G.G. Turpie, on behalf of the XANTUS
                                                                 Investigators
                                                     http://ww
                                                     w.tandfonli
                                                                 Rates of major bleeding with rivaroxaban in
                                                     ne.com/act
                                                                 realworld studies of nonvalvular atrial
Khatib, Sammy,                                       ion/journal
               10/26/2016 Literature    03/02/2016               fibrillation patients: a meta-analysis                                      FALSE
M.D.                                                 Informatio
                                                                 Erin R. Weeda, C. Michael White, W. Frank
                                                     n?journalC
                                                                 Peacock & Craig I. Coleman
                                                     ode=icmo2
                                                     0
                                                                 Major bleeding in a post-marketing
                                                                 assessment of 39,052 non-valvular atrial
                                                                 fibrillation patients on rivaroxaban
                                                                 W.F. Peacock, M. Patel, S. Tamayo, N.
                                                                 Sicignano4, K. Hopf, Z. Yuan, Baylor College
                                                     http://eurh of Medicine, Houston, United States of
Khatib, Sammy,                                       eartj.oxfor America; Duke University Health System,
               10/26/2016 Literature                                                                                                         FALSE
M.D.                                                 djournals.o Durham, United States of America; Naval
                                                     rg          Medical Center Portsmouth, Portsmouth,
                                                                 United States of America; Health
                                                                 ResearchTx, LLC, Trevose, United States of
                                                                 America; Janssen Research and
                                                                 Development,
                                                                 LLC, Titusville, United States of America




                                                                                                                USCA5 1464
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 68
                                                                                Filed 02/10/17    of 102
                                                                                               Page  68 of 102
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
                                                                                                                                  Designation
                            Document     Date of     Source of                                                                       Under      Publically
    Expert      Date Sent                                                    Document Description                   Bates Range                              Comments
                             Category   Document     Document                                                                      Protective   Available
                                                                                                                                     Order
                                                                 Characterizing Major Bleeding in Patients
                                                                 With Nonvalvular Atrial Fibrillation: A
                                                                 Pharmacovigilance Study of 27 467 Patients
                                                                 Taking Rivaroxaban
                                                                 Sally Tamayo, MD; W. Frank Peacock, MD;
                                                                 Manesh Patel, MD; Nicholas Sicignano,
                                                                 MPH; Kathleen P. Hopf, MPH;
                                                                 Larry E. Fields, MD, MBA; Troy Sarich, PhD;
                                                                 Shujian Wu, MD, PhD; Daniel Yannicelli,
                                                                 MD; Zhong Yuan, MD, PhD
                                                                 Department of Cardiology (Tamayo), Naval
                                                                 Medical Center, Portsmouth, Virginia;
                                                                 Department of Emergency Medicine
                                                                 (Peacock),
                                                                 Baylor College of Medicine, Houston, Texas;
Khatib, Sammy,                                       wileyonline
               10/26/2016 Literature    11/22/2014               Department of Cardiology (Patel), Duke                                          FALSE
M.D.                                                 library.com
                                                                 University Health System and Duke Clinical
                                                                 Research Institute, Durham, North Carolina;
                                                                 Department of Clinical Epidemiology
                                                                 (Sicignano, Hopf), Health ResearchTx,
                                                                 Trevose,
                                                                 Pennsylvania; Department of US Medical
                                                                 Affairs (Fields, Yannicelli), Janssen Scientific
                                                                 Affairs, LLC, Raritan, New Jersey;
                                                                 Department of Real World Evidence
                                                                 (Sarich), Janssen Scientific Affairs, LLC,
                                                                 Titusville, New Jersey; Department of Global
                                                                 Medical
                                                                 Organization (Wu), Janssen Research and
                                                                 Development, LLC, Raritan, New Jersey;
                                                                 Department of Epidemiology (Yuan), Janssen




                                                                                                                    USCA5 1465
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 69
                                                                                Filed 02/10/17    of 102
                                                                                               Page  69 of 102
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
                                                                                                                               Designation
                            Document     Date of     Source of                                                                    Under      Publically
    Expert      Date Sent                                                   Document Description                 Bates Range                              Comments
                             Category   Document     Document                                                                   Protective   Available
                                                                                                                                  Order
                                                                  Risk Factors for Major Bleeding in
                                                                  Rivaroxaban Users With Atrial
                                                                  Fibrillation
                                                                  Ezequiel Munoz, MD
                                                     http://dx.d Gloria Iliescu, MD
Khatib, Sammy,                                       oi.org/10.1 Pimprapa Vejpongsa, MD
               10/26/2016 Literature    09/06/2016                                                                                            FALSE
M.D.                                                 016/j.jacc.2 Konstantinos Charitakis, MD
                                                     016.06.027 Kaveh Karimzad, MD
                                                                  Juan Lopez-Mattei, MD
                                                                  Syed Wamique Yusuf, MD
                                                                  Konstantinos Marmagkiolis, MD
                                                                  *Cezar Iliescu, MD
                                                                 Dabigatran versus Warfarin in Patients with
                                                                 Atrial Fibrillation
                                                                 Stuart J. Connolly, M.D., Michael D.
                                                                 Ezekowitz, M.B., Ch.B., D.Phil., Salim Yusuf,
                                                                 F.R.C.P.C., D.Phil., John Eikelboom, M.D.,
                                                                 Jonas Oldgren, M.D., Ph.D., Amit Parekh,
                                                                 M.D., Janice Pogue, M.Sc., Paul A. Reilly,
Khatib, Sammy,
               10/26/2016 Literature    09/17/2009   nejm.org    Ph.D., Ellison Themeles, B.A., Jeanne                                        FALSE
M.D.
                                                                 Varrone, M.D., Susan Wang, Ph.D., Marco
                                                                 Alings, .D., Ph.D., Denis Xavier, M.D., Jun
                                                                 Zhu, M.D., Rafael Diaz, M.D., Basil S. Lewis,
                                                                 M.D., Harald Darius, M.D., Hans-Christoph
                                                                 Diener, M.D., Ph.D., Campbell D. Joyner,
                                                                 M.D., Lars Wallentin, M.D., Ph.D., and the
                                                                 RE-LY Steering Committee and Investigators




                                                                                                                 USCA5 1466
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 70
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  70 of 102
                                                                        Sammy Khatib, M.D.
                                                                         Reliance Material
                                                                                                                                 Designation
                              Document     Date of     Source of                                                                    Under      Publically
    Expert       Date Sent                                                    Document Description                 Bates Range                                 Comments
                               Category   Document     Document                                                                   Protective   Available
                                                                                                                                    Order

                                                                   Supplementary-Dabigatran Compared to
                                                                   Warfarin in Patients with Atrial Fibrillation
                                                                   Stuart J. Connolly, M.D.a, Michael D.
                                                                   Ezekowitz, M.B., Ch.B., D.Phil.b, Salim
                                                                   Yusuf, F.R.C.P.C., D.Phil.a, John Eikelboom,
                                                                   M.D.a, Jonas Oldgren, M.D., Ph.D.d, Amit
                                                                   Parekh, M.D.b, Janice Pogue, M.Sc.a, Paul
Khatib, Sammy,                                                     A. Reilly, Ph.D.c, Ellison Themelesa, Jeanne
               10/26/2016 Literature      11/29/2010                                                                                            FALSE
M.D.                                                               Varrone, M.D.c, Susan Wang, Ph.D.c, Marco
                                                                   Alings, M.D., Ph.D.e, Denis Xavier, M.D.f,
                                                                   Jun Zhu, M.D.g, Rafael Diaz, M.D.h, Basil
                                                                   Lewis, M.D.i, Harald Darius, M.D.j, Hans-
                                                                   Christoph Diener, M.D., Ph.D.k, Campbell D.
                                                                   Joyner, M.D.l, Lars Wallentin, M.D., Ph.D.d,
                                                                   the RELY Steering Committee and RELY
                                                                   investigators

                                                                    Effectiveness and Safety of Dabigatran,
                                                                    Rivaroxaban, and Apixaban
                                                                    Versus Warfarin in Nonvalvular Atrial
                                                       http://jaha. Fibrillation
Khatib, Sammy,
               10/26/2016 Literature      05/13/2016   ahajournal Xiaoxi Yao, PhD; Neena S. Abraham, MD,                                        FALSE
M.D.
                                                       s.org        MSCE; Lindsey R. Sangaralingham, MPH; M.
                                                                    Fernanda Bellolio, MD, MS; Robert D.
                                                                    McBane, MD; Nilay D. Shah, PhD; Peter A.
                                                                    Noseworthy, MD
                                                                    Strum, W. B., & Powell, J. R. (2016). Point-of-
Khatib, Sammy,
                             Literature     2016       Journal      Care Warfarin Monitoring in the ROCKET AF None                               TRUE       Report citation
M.D.
                                                                    Trial, N. Engl. J. Med., 375(4), 390-391




                                                                                                                   USCA5 1467
                             Case 2:14-md-02592-EEF-MBN
                        Case 2:14-md-02592-EEF-MBN      Document
                                                    Document      5399-18
                                                             5399-18      Filed 02/10/17
                                                                     *SEALED*             Page 71
                                                                                Filed 02/10/17    of 102
                                                                                               Page  71 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                             Designation
                            Document     Date of     Source of                                                                  Under      Publically
    Expert      Date Sent                                                  Document Description                Bates Range                              Comments
                             Category   Document     Document                                                                 Protective   Available
                                                                                                                                Order
                                                                 Apixaban versus Warfarin in Patients with
                                                                 Atrial Fibrillation
                                                                 Christopher B. Granger, M.D., John H.
                                                                 Alexander, M.D., M.H.S., John J.V.
                                                                 McMurray, M.D., Renato D. Lopes, M.D.,
                                                                 Ph.D., Elaine M. Hylek, M.D., M.P.H.,
                                                                 Michael Hanna, M.D., Hussein R. Al-Khalidi,
                                                                 Ph.D., Jack Ansell, M.D., Dan Atar, M.D.,
                                                                 Alvaro Avezum, M.D., Ph.D., M. Cecilia
                                                                 Bahit, M.D., Rafael Diaz, M.D., J. Donald
                                                                 Easton, M.D., Justin A. Ezekowitz, M.B.,
Khatib, Sammy,                                                   B.Ch., Greg Flaker, M.D., David Garcia, M.D.,
               10/26/2016 Literature    09/15/2011   nejm.org                                                                               FALSE
M.D.                                                             Margarida Geraldes, Ph.D., Bernard J.
                                                                 Gersh, M.D., Sergey Golitsyn, M.D., Ph.D.,
                                                                 Shinya Goto, M.D., Antonio G. Hermosillo,
                                                                 M.D.,Stefan H. Hohnloser, M.D., John
                                                                 Horowitz, M.D., Puneet Mohan, M.D.,
                                                                 Ph.D., Petr Jansky, M.D., Basil S. Lewis,
                                                                 M.D., Jose Luis Lopez-Sendon, M.D., Prem
                                                                 Pais, M.D., Alexander Parkhomenko, M.D.,
                                                                 Freek W.A. Verheugt, M.D., Ph.D., Jun Zhu,
                                                                 M.D., and Lars Wallentin, M.D., Ph.D., for
                                                                 the ARISTOTLE Committees and
                                                                 Investigators
                                                                 Gosselin, R. C., & Adcock, D. M. (2016). The
                                                                 laboratory's 2015 perspective on direct oral
Khatib, Sammy,
               10/26/2016 Literature      2016       Journal     anticoagulant testing. Journal of             None                          TRUE
M.D.
                                                                 Thrombosis and Haemostasis, 14(5), 886-
                                                                 893.




                                                                                                              USCA5 1468
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 72
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  72 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                              Designation
                              Document     Date of   Source of                                                                   Under      Publically
    Expert       Date Sent                                                 Document Description                 Bates Range                                 Comments
                               Category   Document   Document                                                                  Protective   Available
                                                                                                                                 Order
                                                                 Testa, S., Legnani, C., Tripodi, A., Paoletti,
                                                                 O., Pengo, V., Abbate, R., ... & Poli, D.
                                                                 (2016). Poor comparability of coagulation
Khatib, Sammy,                                                   screening test with specific measurement in
               10/26/2016 Literature        2016     Journal                                                    None                          TRUE
M.D.                                                             patients on direct oral anticoagulants:
                                                                 Results from a multicenter/multiplatform
                                                                 study. Journal of Thrombosis and
                                                                 Haemostasis.

                                                                 Patel, M. R., Hellkamp, A. S., & Fox, K. A.
Khatib, Sammy,                                                   (2016). Point-of-care warfarin monitoring in
                             Literature     2016     Journal                                                   None                           TRUE       Report citation
M.D.                                                             the ROCKET AF trial. New England Journal of
                                                                 Medicine, 374(8), 785-788
                                                                 Kirchhof, P., Benussi, S., Kotecha, D.,
                                                                 Ahlsson, A., Atar, D., Casadei, B., Castella,
                                                                 M., Diener, H.C., Heidbuchel, H., Hendriks,
Khatib, Sammy,                                                   J., Hindricks, G., et al. (2016). 2016 ESC
                             Literature     2016     Journal                                                   None                           TRUE       Report citation
M.D.                                                             Guidelines for the management of atrial
                                                                 fibrillation developed in collaboration with
                                                                 EACTS. European Heart Journal, 37,
                                                                 2893–2962
                                                                 Uprichard, J. (2016). Management of
Khatib, Sammy,                                                   rivaroxaban in relation to bodyweight and
                             Literature     2016     Journal                                                   None                           TRUE       Report citation
M.D.                                                             body mass index. Therapeutic advances in
                                                                 cardiovascular disease, 10(5), 294 –303
                                                                 Kreutz, R. (2012). Pharmacodynamic and
Khatib, Sammy,                                                   pharmacokinetic basics of rivaroxaban.
                             Literature     2012     Journal                                                  None                            TRUE       Report citation
M.D.                                                             Fundamental & clinical pharmacology,
                                                                 26(1), 27-32




                                                                                                               USCA5 1469
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 73
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  73 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                 Designation
                              Document     Date of   Source of                                                                      Under      Publically
    Expert       Date Sent                                                  Document Description                   Bates Range                                 Comments
                               Category   Document   Document                                                                     Protective   Available
                                                                                                                                    Order
                                                                 Budnitz, D. S., Pollock, D. A., Mendelsohn,
                                                                 A. B., Weidenbach, K. N., McDonald, A. K., &
                                                                 Annest, J. L. (2005). Emergency department
Khatib, Sammy,
                             Literature     2005     Journal     visits for outpatient adverse drug events:   None                               TRUE       Report citation
M.D.
                                                                 demonstration for a national surveillance
                                                                 system. Annals of emergency medicine,
                                                                 45(2), 197-206
                                                                 Office of Communications and Public
                                                                 Liaison, National Institute of Neurological
                                                                 Disorders and Stroke. (2016). Stroke: Hope
Khatib, Sammy,                                                   Through Research. National Institute of
                             Literature     2016     Journal                                                 None                                TRUE       Report citation
M.D.                                                             Neurological Disorders and Stroke.
                                                                 Retrieved from URL
                                                                 http://www.ninds.nih.gov/disorders/stroke/
                                                                 detail_stroke.htm

                                                                 Marini, C., De Santis, F., Sacco, S., Russo, T.,
                                                                 Olivieri, L., Totaro, R., & Carolei, A. (2005).
Khatib, Sammy,                                                   Contribution of atrial fibrillation to
                             Literature     2005     Journal                                                      None                           TRUE       Report citation
M.D.                                                             incidence and outcome of ischemic stroke
                                                                 results from a population-based study.
                                                                 Stroke, 36(6), 1115-1119

                                                                 Lin, H. J., Wolf, P. A., Kelly-Hayes, M.,
                                                                 Beiser, A. S., Kase, C. S., Benjamin, E. J., &
Khatib, Sammy,
                             Literature     1996     Journal     D'Agostino, R. B. (1996). Stroke severity in     None                           TRUE       Report citation
M.D.
                                                                 atrial fibrillation The Framingham Study.
                                                                 Stroke, 27(10), 1760-1764.




                                                                                                                  USCA5 1470
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 74
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  74 of 102
                                                                        Sammy Khatib, M.D.
                                                                         Reliance Material
                                                                                                                               Designation
                              Document     Date of     Source of                                                                  Under      Publically
    Expert       Date Sent                                                   Document Description                Bates Range                                 Comments
                               Category   Document     Document                                                                 Protective   Available
                                                                                                                                  Order

                                                                   Figure 3. NIH MedlinePlus. (2016). Atrial
                                                                   fibrillation: Complications. MedlinePlus,
Khatib, Sammy,
                             Literature     2016       Journal     9(4), 23. Retrieved from URL               None                             TRUE       Report citation
M.D.
                                                                   https://medlineplus.gov/magazine/issues/wi
                                                                   nter15/articles/winter15pg23.html

                                                                   An early evaluation of bleeding-related
                                                                   hospital readmissions among hospitalized
                                                       http://dx.d
                                                                   patients with nonvalvular atrial fibrillation
                                                       oi.org/10.1
Khatib, Sammy,                                                     treated with direct oral anticoagulants
               11/10/2016 Literature      01/01/2016   185/03007                                                                              FALSE
M.D.
                                                       995.2015.1
                                                                   Steve Deitelzweig, Amanda Bruno, Jeffrey
                                                       131676
                                                                   Trocio, Natalie Tate, Kiran Gupta, Jay Lin &
                                                                   Melissa Lingohr-Smith
                                                                   Meta-Analysis of Efficacy and Safety of New
                                                                   Oral Anticoagulants
                                                                   (Dabigatran, Rivaroxaban, Apixaban) Versus
                                                                   Warfarin in Patients
Khatib, Sammy,                                         www.ajcon
               10/26/2016 Literature      03/17/2012               With Atrial Fibrillation                                                   FALSE
M.D.                                                   line.org
                                                                   Corey S. Miller, BAa,c, Sonia M. Grandi,
                                                                   MSca, Avi Shimony, Da,b,d, Kristian B.
                                                                   Filion, PhDa, and Mark J. Eisenberg, MD,
                                                                   MPH
                                                                   Lloyd-Jones, D. M., Wang, T. J., Leip, E. P.,
                                                                   Larson, M. G., Levy, D., Vasan, R. S., ... &
Khatib, Sammy,                                                     Benjamin, E. J. (2004). Lifetime risk for
                             Literature     2004       Journal                                                   None                          TRUE       Report Citation
M.D.                                                               development of atrial fibrillation the
                                                                   Framingham heart study. Circulation,
                                                                   110(9), 1042-1046.




                                                                                                                USCA5 1471
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 75
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  75 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                              Designation
                              Document     Date of   Source of                                                                   Under      Publically
    Expert       Date Sent                                                 Document Description                 Bates Range                                 Comments
                               Category   Document   Document                                                                  Protective   Available
                                                                                                                                 Order
                                                                 Centers for Disease Control and Prevention.
                                                                 (n.d.). Atrial fibrillation. CDC, Division for
Khatib, Sammy,                                       Internet    Heart Disease and Stroke Prevention.
                             Literature   No date.                                                              None                          TRUE       Report citation
M.D.                                                 CDC         Retrieved from URL
                                                                 http://www.cdc.gov/dhdsp/data_statistics/f
                                                                 act_sheets/docs/fs_atrial_fibrillation.pdf

                                                                 Olesen, J. B., Torp-Pedersen, C., Hansen, M.
                                                                 L., & Lip, G. Y. (2012). The value of the
                                                                 CHA2DS2-VASc score for refining stroke risk
Khatib, Sammy,
                             Literature     2012     Journal     stratification in patients with atrial       None                            TRUE       Report citation
M.D.
                                                                 fibrillation with a CHADS2 score 0–1: A
                                                                 nationwide cohort study. Thrombosis and
                                                                 haemostasis, 107(6), 1172-1179.
                                                                 Dulli, D. A., Stanko, H., & Levine, R. L.
Khatib, Sammy,                                                   (2003). Atrial fibrillation is associated with
                             Literature     2003     Journal                                                    None                          TRUE       Report citation
M.D.                                                             severe acute ischemic stroke.
                                                                 Neuroepidemiology, 22(2), 118-123.
                                                                 Reiffel, J.A. (2014). Atrial fibrillation and
Khatib, Sammy,
                             Literature     2014     Journal     stoke: epidemiology. Am. J. Med., (4), e15- None                             TRUE       Report citation
M.D.
                                                                 16.
                                                                 Mant, J., Hobbs, F. R., Fletcher, K., Roalfe,
                                                                 A., Fitzmaurice, D., Lip, G. Y., ... & Midland
                                                                 Research Practices Network (MidReC.
                                                                 (2007). Warfarin versus aspirin for stroke
Khatib, Sammy,                                                   prevention in an elderly community
                             Literature     2007     Journal                                                    None                          TRUE       Report citation
M.D.                                                             population with atrial fibrillation (the
                                                                 Birmingham Atrial Fibrillation Treatment of
                                                                 the Aged Study, BAFTA): A randomised
                                                                 controlled trial. The Lancet, 370(9586), 493-
                                                                 503.




                                                                                                               USCA5 1472
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 76
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  76 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                              Designation
                              Document     Date of   Source of                                                                   Under      Publically
    Expert       Date Sent                                                 Document Description                 Bates Range                                 Comments
                               Category   Document   Document                                                                  Protective   Available
                                                                                                                                 Order

                                                                 Prystowsky, E.N. (1996). Management of
                                                                 Patients with Atrial Fibrillation: A statement
Khatib, Sammy,                                                   for healthcare professionals from the
                             Literature     1996     Journal                                                    None                          TRUE       Report citation
M.D.                                                             subcommittee on electrocardiography and
                                                                 electrophysiology, American Heart
                                                                 Association. Circulation, 93 (6), 1262-1277.

                                                                 Hindricks, G., Piorkowski, C., Tanner, H.,
                                                                 Kobza, R., Gerds-Li, J. H., Carbucicchio, C., &
                                                                 Kottkamp, H. (2005). Perception of atrial
Khatib, Sammy,
                             Literature     2005     Journal     fibrillation before and after radiofrequency None                            TRUE       Report citation
M.D.
                                                                 catheter ablation relevance of
                                                                 asymptomatic arrhythmia recurrence.
                                                                 Circulation, 112(3), 307-313

                                                                 Boriani, G., Valzania, C., Biffi, M.,
                                                                 Diemberger, I., Ziacchi, M., & Martignani, C.
Khatib, Sammy,
                             Literature     2015     Journal     (2015). Asymptomatic lone atrial fibrillation- None                          TRUE       Report citation
M.D.
                                                                 how can we detect the arrhythmia? Curr.
                                                                 Pharm. Des., 21 (5) ,659-66

                                                                 Schnabel, R. B., Yin, X., Gona, P., Larson, M.
                                                                 G., Beiser, A. S., McManus, D. D., ... &
                                                                 Seshadri, S. (2015). 50 year trends in atrial
Khatib, Sammy,
                             Literature     2015     Journal     fibrillation prevalence, incidence, risk       None                          TRUE       Report citation
M.D.
                                                                 factors, and mortality in the Framingham
                                                                 Heart Study: A cohort study. The Lancet,
                                                                 386(9989), 154-162.




                                                                                                               USCA5 1473
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 77
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  77 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                  Designation
                              Document     Date of   Source of                                                                       Under      Publically
    Expert       Date Sent                                                  Document Description                    Bates Range                                 Comments
                               Category   Document   Document                                                                      Protective   Available
                                                                                                                                     Order
                                                                 Schnabel, R. B., Yin, X., Gona, P., Larson, M.
                                                                 G., Beiser, A. S., McManus, D. D., ... &
                                                                 Seshadri, S. (2015). 50 year trends in atrial
Khatib, Sammy,
                             Literature     2015     Journal     fibrillation prevalence, incidence, risk       None                              TRUE       Report citation
M.D.
                                                                 factors, and mortality in the Framingham
                                                                 Heart Study: A cohort study. The Lancet,
                                                                 386(9989), 154-162.
                                                                 Mant, J., Hobbs, F. R., Fletcher, K., Roalfe,
                                                                 A., Fitzmaurice, D., Lip, G. Y., ... & Midland
                                                                 Research Practices Network (MidReC.
                                                                 (2007). Warfarin versus aspirin for stroke
Khatib, Sammy,                                                   prevention in an elderly community
                             Literature     2004     Journal                                                    None                              TRUE       Report citation
M.D.                                                             population with atrial fibrillation (the
                                                                 Birmingham Atrial Fibrillation Treatment of
                                                                 the Aged Study, BAFTA): A randomised
                                                                 controlled trial. The Lancet, 370(9586), 493-
                                                                 503.
                                                                 Samama, M. M., Contant, G., Spiro, T. E.,
                                                                 Perzborn, E., Le Flem, L., Guinet, C., ... &
Khatib, Sammy,
               10/26/2016 Literature        2013     Journal     Martinoli, J. L. (2013). Laboratory            None                              TRUE
M.D.
                                                                 assessment of rivaroxaban: A review.
                                                                 Thrombosis journal, 11(1), 1.
                                                                 Lindhoff-Last, E., Samama, M. M., Ortel, T.
                                                                 L., Weitz, J. I., & Spiro, T. E. (2010). Assays
Khatib, Sammy,
               10/26/2016 Literature        2010     Journal     for measuring rivaroxaban: Their suitability      None                           TRUE
M.D.
                                                                 and limitations. Therapeutic drug
                                                                 monitoring, 32(6), 673-679.




                                                                                                                   USCA5 1474
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 78
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  78 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                  Designation
                              Document     Date of   Source of                                                                       Under      Publically
    Expert       Date Sent                                                  Document Description                 Bates Range                                    Comments
                               Category   Document   Document                                                                      Protective   Available
                                                                                                                                     Order

                                                                 Gosselin, R. C., Francart, S. J., Hawes, E. M.,
                                                                 Moll, S., Dager, W. E., & Adcock, D. M.
                                                                 (2015). Heparin-calibratedchromogenic anti-
Khatib, Sammy,
               10/26/2016 Literature        2015     Journal     Xa activity measurements in patients            None                             TRUE
M.D.
                                                                 receiving rivaroxaban can this test be used
                                                                 to quantify drug level?. Annals of
                                                                 Pharmacotherapy, 1060028015578451.

                                                                 Schnabel, R. B., Yin, X., Gona, P., Larson, M.
                                                                 G., Beiser, A. S., McManus, D. D., ... &
                                                                 Seshadri, S. (2015). 50 year trends in atrial
Khatib, Sammy,
                             Literature     2015     Journal     fibrillation prevalence, incidence, risk       None                              TRUE       Report citation
M.D.
                                                                 factors, and mortality in the Framingham
                                                                 Heart Study: A cohort study. The Lancet,
                                                                 386(9989), 154-162.
                                                                 Lip, G. Y. (2011). Implications of the CHA 2
                                                                 DS 2-VASc and HAS-BLED scores for
Khatib, Sammy,
                             Literature     2011     Journal     thromboprophylaxis in atrial fibrillation. The None                              TRUE       Report citation
M.D.
                                                                 American journal of medicine, 124(2), 111-
                                                                 114.
                                                                 Cardiovascular Institute of the South-
                                                                 Houma,                                                                                      Date range
Khatib, Sammy,            Medical                                                                               JBoudreaux-CIS-
               10/31/2016                  3/1/16    Provider    750002_025_001_BoudreauxJrJosephJ_Card                                          FALSE       approximately:
M.D.                      Records                                                                               H-1-351
                                                                 iovascularInstituteoftheSouthHouma_00000                                                    2014-2016
                                                                 001_00000351.pdf
                                                                 Acadian Ambulance,                                                                          Date range
Khatib, Sammy,            Medical                                                                       JBoudreaux-
               10/31/2016                 5/31/16    Provider    750002_054_001_BoudreauxJrJosephJ_Acad                                          FALSE       approximately:
M.D.                      Records                                                                       AcadianAS-1-31
                                                                 ianAmbulanceSvcs_00000001_00000031.pdf                                                      2014-2015
                                                                 Cardiovascular Institute of the South-
                                                                 Houma,                                                                                      Date range
Khatib, Sammy,            Medical                                                                         JBoudreaux-CIS-
               10/31/2016                 6/21/16    Provider    750002_025_002_BoudreauxJrJosephJ_Card                                          FALSE       approximately:
M.D.                      Records                                                                         H- 352-390
                                                                 iovascularInstituteoftheSouthHouma_00000                                                    2014-2016
                                                                 352_00000390.pdf



                                                                                                                USCA5 1475
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 79
                                                                               Filed 02/10/17    of 102
                                                                                              Page  79 of 102
                                                                  Sammy Khatib, M.D.
                                                                   Reliance Material
                                                                                                                          Designation
                           Document     Date of   Source of                                                                  Under      Publically
    Expert     Date Sent                                                Document Description              Bates Range                                    Comments
                            Category   Document   Document                                                                 Protective   Available
                                                                                                                             Order
                                                              MATC Family Medicine - Elizabeth Foret,
                                                                                                                                                     Date range
Khatib, Sammy,            Medical                             NP,                                     JBoudreaux-
               10/31/2016              2/10/16    Provider                                                                               FALSE       approximately:
M.D.                      Records                             750002_021_001_BoudreauxJrJosephJ_Fore EForet-1-22
                                                                                                                                                     2014
                                                              tElizabethNP_00000001_00000022.pdf

Khatib, Sammy,            Medical                             750002_021_002_BoudreauxJrJosephJ_Fore JBoudreaux-                                     Certificate of
               10/31/2016              2/17/16`   Provider                                                                               FALSE
M.D.                      Records                             tElizabethNP_00000023_00000024.pdf     EForet-23-24                                    records received

                                                              MATC Family Medicine -Dr. Andre
Khatib, Sammy,            Medical                             Duplantis,                             JBoudreaux-                                     Certificate of no
               10/31/2016               8/9/16    Provider                                                                               FALSE
M.D.                      Records                             750002_019_004_BoudreauxJrJosephJ_Dupl ADuplantis-464                                  billing records.
                                                              antisAndreMD_00000464_00000464.pdf

                                                              Digestive Health Center,                                                               Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              6/27/16    Provider    750002_068_001_BoudreauxJrJosephJ_Dige                                     FALSE       approximately:
M.D.                      Records                                                                    DHC-1-5
                                                              stiveHealthCtr_00000001_00000005.pdf                                                   2009

                                                              Cardiovascular Institute of the South-
                                                                                                                                                     Date range
Khatib, Sammy,            Medical                             Houma,                                    JBoudreaux-CIS-
               10/31/2016              8/29/16    Provider                                                                               FALSE       approximately:
M.D.                      Records                             750002_025_003_CardiovascularInstituteoft H-391-500
                                                                                                                                                     2014-2016
                                                              heSouthHouma_00000391_00000500.pdf

                                                              MATC Family Medicine -Dr. Andre
                                                                                                     JBoudreaux-
Khatib, Sammy,            Medical                             Duplantis,                                                                             Date range
               10/31/2016               8/9/16    Provider                                           ADuplantis-418-                     FALSE
M.D.                      Records                             750002_019_003_BoudreauxJrJosephJ_Dupl                                                 approximately:
                                                                                                     463
                                                              antisAndreMD_00000418_00000463.pdf

                                                              MATC Family Medicine -Dr. Andre
Khatib, Sammy,            Medical                             Duplantis,                             JBoudreaux-                                     Certificate of
               10/31/2016               3/7/16    Provider                                                                               FALSE
M.D.                      Records                             750002_019_002_BoudreauxJrJosephJ_Dupl ADuplantis-417                                  records received
                                                              antisAndreMD_00000417_00000417.pdf




                                                                                                        USCA5 1476
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 80
                                                                               Filed 02/10/17    of 102
                                                                                              Page  80 of 102
                                                                     Sammy Khatib, M.D.
                                                                      Reliance Material
                                                                                                                              Designation
                           Document      Date of     Source of                                                                   Under      Publically
    Expert     Date Sent                                                   Document Description               Bates Range                                    Comments
                            Category    Document     Document                                                                  Protective   Available
                                                                                                                                 Order
                                                                 MATC Family Medicine -Dr. Andre
                                                                                                        JBoudreaux-                                      Date range
Khatib, Sammy,            Medical                                Duplantis,
               10/31/2016                3/3/16      Provider                                           ADuplantis-1-                        FALSE       approximately:
M.D.                      Records                                750002_019_001_BoudreauxJrJosephJ_Dupl
                                                                                                        416                                              2014-2016
                                                                 antisAndreMD_00000001_00000416.pdf
                                                                 Humana,
Khatib, Sammy,            Medical                                750002_069_001_BoudreauxJrJosephJ_Hum JBoudreaux-                                       Date range
               10/31/2016                8/11/16     Provider                                                                                FALSE
M.D.                      Records                                anaHealthBenefitPlanofLouisianaInc_000000 HHBPL-1-21                                    approximately:
                                                                 01_00000021.pdf
                                                                 Humana,
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                                750002_037_001_BoudreauxJrJosephJ_Hum JBoudreaux-
               10/31/2016                4/25/16     Provider                                                                                FALSE       approximately:
M.D.                      Records                                anaIncAttentionCriticalInquiryDept_000000 Humana-1-38
                                                                                                                                                         2009-2016
                                                                 01_00000038.pdf
                                                                 Digestive Health Center,
Khatib, Sammy,            Medical                                                                       JBoudreaux-                                      Certificate of no
               10/31/2016                7/20/16     Provider    750002_068_002_BoudreauxJrJosephJ_Dige                                      FALSE
M.D.                      Records                                                                       DHC-6                                            billing records.
                                                                 stiveHealthCtr_00000006_00000006.pdf
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 3751-                                            Date range
               10/31/2016                1/20/16                                                              003751 –                       FALSE
M.D.                      Records                    Produced    4500.pdf                                                                                approximately:
                                                                                                              004500
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 2251-                                            Date range
               10/31/2016                1/20/16                                                              002251 –                       FALSE
M.D.                      Records                    Produced    3000.pdf                                                                                approximately:
                                                                                                              003000
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 1501-                                            Date range
               10/31/2016                1/20/16                                                              001501 –                       FALSE
M.D.                      Records                    Produced    2250.pdf                                                                                approximately:
                                                                                                              002250
                                                                 Thibodeaux Regional Medicals,
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                                750002_060_002_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                6/8/16      Provider                                                                                FALSE       approximately:
M.D.                      Records                                odauxRegionalMedCtrMedRecsDept_00000 TRMC-MD-12
                                                                                                                                                         2009
                                                                 012_00000012.pdf
                                                                 Ochsner Baptist Medical Center –             SOrr-OBMC-RD-                              Date range
Khatib, Sammy,            Medical      04/01/2016;
               10/31/2016                            Provide     Radiology, SOrr - Ochsner Baptist            000001 –                       FALSE       approximately:
M.D.                      Records       09/13/2016
                                                                 (radiology).pdf                              000016                                     2011-2015
                                                                                                              SOrr-ESCL-                                 Date range
Khatib, Sammy,            Medical                                Eye Surgery Center of Louisiana, SOrr - Eye
               10/31/2016                9/19/16     Provider                                                 000001 –                       FALSE       approximately:
M.D.                      Records                                Surgery Center of Louisiana.pdf
                                                                                                              000074                                     2013-2015



                                                                                                            USCA5 1477
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 81
                                                                               Filed 02/10/17    of 102
                                                                                              Page  81 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                Designation
                           Document      Date of     Source of                                                                     Under      Publically
    Expert     Date Sent                                                    Document Description                Bates Range                                   Comments
                            Category    Document     Document                                                                    Protective   Available
                                                                                                                                   Order
                                                                                                                SOrr-FBH-                                  Date range
Khatib, Sammy,            Medical      03/16/2016;               vFor Better Health, Inc. - Rai, Kashmir MD,
               10/31/2016                            Provider                                                   000001 –                       FALSE       approximately:
M.D.                      Records       05/19/2016               SOrr - For Better Health.pdf
                                                                                                                000037                                     2014-2015
                                                                                                                SOrr-HCAPAS-                               Date range
Khatib, Sammy,            Medical                                HCA Patient Account Services – Billing, SOrr -
               10/31/2016                7/22/16     Provide                                                    000001 –                       FALSE       approximately:
M.D.                      Records                                 HCA Patient Accounts (billing).pdf
                                                                                                                000111                                     2009-2015
                                       02/23/2016;               Kenner Regional / Ochsner Medical Center- SOrr-KennerR-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016              04/27/2016;   Provider    Kenner, SOrr - Kenner Regional (med, billing 000001 –                         FALSE       approximately:
M.D.                      Records
                                        04/29/2016               & radiology).pdf                               000233                                     2013-2015
                                                                                                                SOrr-
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                                LabCorp of America – Billing, SOrr - Lab       LabCorpAm-BD-
               10/31/2016                3/31/16     Provider                                                                                  FALSE       approximately:
M.D.                      Records                                Corp of America (billing).pdf                  000001 –
                                                                                                                                                           2013-2014
                                                                                                                000015
                                                                                                                SOrr-
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                                LabCorp of America – Medicals, SOrr - Lab      LabCorpAmer-
               10/31/2016                3/25/16     Provider                                                                                  FALSE       approximately:
M.D.                      Records                                Corp of America (medical).pdf                  MD-000001 –
                                                                                                                                                           2013-2014
                                                                                                                000017
                                                                                                                Orr-JLindsey-                              Date range
Khatib, Sammy,            Medical      05/31/2016;               Lindsey, John T., M.D., SOrr - Lindsey, John,
               10/31/2016                            Provider                                                   000001 –                       FALSE       approximately:
M.D.                      Records       06/06/2016               M.D..pdf
                                                                                                                000030                                     2014-2015

                                                                                                                                                           SOrr-RJLousteau-
                                                                                                               SOrr-
                                                                                                                                                           000001 – 000007
Khatib, Sammy,            Medical                                Lousteau, Ray Joseph, M.D., SOrr -            RJLousteau-
               10/31/2016                9/2/16      Provide                                                                                   FALSE       Date range
M.D.                      Records                                Lousteau, Ray, M.D.pdf                        000001 –
                                                                                                                                                           approximately:
                                                                                                               000007
                                                                                                                                                           2012-2013

                                                                 McNulty, Michael, M.D. - Southern             SOrr-MMcNulty-                              Date range
Khatib, Sammy,            Medical
               10/31/2016                5/23/16     Provider    Orthopaedic Specialists, SOrr - McNulty,      000001 –                        FALSE       approximately:
M.D.                      Records
                                                                 Michael, M.D.pdf                              000022                                      2010-2011
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 3001-                                              Date range
               10/31/2016                1/20/16                                                              003001 –                         FALSE
M.D.                      Records                    Produced    3750.pdf                                                                                  approximately:
                                                                                                              003750




                                                                                                               USCA5 1478
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 82
                                                                               Filed 02/10/17    of 102
                                                                                              Page  82 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                               Designation
                           Document      Date of     Source of                                                                    Under      Publically
    Expert     Date Sent                                                   Document Description                Bates Range                                   Comments
                            Category    Document     Document                                                                   Protective   Available
                                                                                                                                  Order
                                                                                                            SOrr-OBMC-MD-                                 Date range
Khatib, Sammy,            Medical                                Ochsner Baptist Medical Center – Medicals,
               10/31/2016                4/12/16     Provider                                               000001 –                          FALSE       approximately:
M.D.                      Records                                SOrr - Ochsner Baptist (medical).pdf
                                                                                                            0001123                                       2014-2015
                                                                                                            SOrr-OMC-BD-                                  Date range
Khatib, Sammy,            Medical                                Ochsner Medical Center – Billing, SOrr -
               10/31/2016                4/5/16      Provider                                               000001 –                          FALSE       approximately:
M.D.                      Records                                Ochsner Medical Center (billingl).pdf
                                                                                                            000018                                        2015
                                                                                                            SOrr-OMC-MD-                                  Date range
Khatib, Sammy,            Medical                                Ochsner Medical Center – Medicals, SOrr -
               10/31/2016                3/4/16      Provider                                               000001 –                          FALSE       approximately:
M.D.                      Records                                Ochsner Medical Center (medical) 1-750.pdf
                                                                                                            000750                                        2015
                                                                 Ochsner Medical Center – Medicals, SOrr - SOrr-OMC-MD-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                3/4/16      Provider    Ochsner Medical Center (medical) 751-        000751 –                        FALSE       approximately:
M.D.                      Records
                                                                 1500.pdf                                     001500                                      2015
                                                                 Ochsner Medical Center – Medicals, SOrr - SOrr-OMC-MD-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                3/4/16      Provider    Ochsner Medical Center (medical) 1501-       0001501 –                       FALSE       approximately:
M.D.                      Records
                                                                 2250.pdf                                     002250                                      2015
                                                                 Ochsner Medical Center – Medicals, SOrr - SOrr-OMC-MD-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                3/4/16      Provider    Ochsner Medical Center (medical) 2251-       002251 –                        FALSE       approximately:
M.D.                      Records
                                                                 2979.pdf                                     002979                                      2015
                                       03/16/2016;               Ochsner Medical Center (Radiology            SOrr-OMC-RD-                                Date range
Khatib, Sammy,            Medical
               10/31/2016              08/03/2016;   Provider    Department), SOrr - Ochsner Medical          000001 –                        FALSE       approximately:
M.D.                      Records
                                        08/08/2016               Center (radiology).pdf                       000004                                      2015
                                                                 Ochsner Medical Center Alton Ochsner
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                                Medical Foundation (Pathology                SOrr-OMC-PD-
               10/31/2016                3/1/16      Provider                                                                                 FALSE       approximately:
M.D.                      Records                                Department), SOrr - Ochsner Medical          000001
                                                                                                                                                          2014
                                                                 Center (pathology).pdf
                                                                 Our Lady of the Lake Regional Medical        SOrr-OLLRMC-                                Date range
Khatib, Sammy,            Medical
               10/31/2016                1/20/16     Provider    Center, SOrr - Our Lady of the Lake Regional MD-000001 –                     FALSE       approximately:
M.D.                      Records
                                                                 (medical).pdf                                000003                                      2005-2007
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr - PPR 1-    DSOrr - PPR 1-                              Date range
               10/31/2016                1/20/16                                                                                              FALSE
M.D.                      Records                    Produced    750.pdf                                      750                                         approximately:
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr - PPR 751-                                              Date range
               10/31/2016                1/20/16                                                              004068 –                        FALSE
M.D.                      Records                    Produced    1500.pdf                                                                                 approximately:
                                                                                                              004071




                                                                                                             USCA5 1479
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 83
                                                                               Filed 02/10/17    of 102
                                                                                              Page  83 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                              Designation
                           Document      Date of     Source of                                                                   Under      Publically
    Expert     Date Sent                                                    Document Description              Bates Range                                   Comments
                            Category    Document     Document                                                                  Protective   Available
                                                                                                                                 Order
                                                                                                              SOrr-OBMC-BD-                              Date range
Khatib, Sammy,            Medical                                Ochsner Baptist Medical Center – Billing,
               10/31/2016                4/12/16     Provider                                                 000001 –                       FALSE       approximately:
M.D.                      Records                                SOrr - Ochsner Baptist (billing).pdf
                                                                                                              000018                                     2014
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 6243-                                            Date range
               10/31/2016                3/24/16                                                              006243 –                       FALSE
M.D.                      Records                    Produced    6259.pdf                                                                                approximately:
                                                                                                              006259
                                                                 Tulane Hospital (Medical Records             SOrr-TulaneH-                              Date range
Khatib, Sammy,            Medical      03/04/2016;
               10/31/2016                            Provider    Department), SOrr - Tulane Hospital          MD-000001 –                    FALSE       approximately:
M.D.                      Records       06/09/2016
                                                                 (medical).pdf                                000589                                     1997-2015
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 4501-                                            Date range
               10/31/2016                1/20/16                                                              004501 –                       FALSE
M.D.                      Records                    Produced    5250.pdf                                                                                approximately:
                                                                                                              005250
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 5251-                                            Date range
               10/31/2016                1/20/16                                                              005251 –                       FALSE
M.D.                      Records                    Produced    5713.pdf                                                                                approximately:
                                                                                                              005713
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 5714-                                            Date range
               10/31/2016                1/25/16                                                              005714 –                       FALSE
M.D.                      Records                    Produced    5786.pdf                                                                                approximately:
                                                                                                              005786
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 5787-                                            Date range
               10/31/2016                2/2/16                                                               005787 –                       FALSE
M.D.                      Records                    Produced    5913.pdf                                                                                approximately:
                                                                                                              005913
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 5914-                                            Date range
               10/31/2016                2/8/16                                                               005914 –                       FALSE
M.D.                      Records                    Produced    5997.pdf                                                                                approximately:
                                                                                                              005997
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                                Tulane Hospital (Radiology Department),     SOrr-TulaneH-
               10/31/2016                5/2/16      Provider                                                                                FALSE       approximately:
M.D.                      Records                                SOrr - Tulane Hospital (radiology).pdf      RD-000001
                                                                                                                                                         2008-2014
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 6215-                                            Date range
               10/31/2016                3/18/16                                                              006215 –                       FALSE
M.D.                      Records                    Produced    6242.pdf                                                                                approximately:
                                                                                                              006242
                                                                 Tulane University Hospital and Clinic
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                                (Pathology Department), SOrr - Tulane        SOrr-TUHC-PD-
               10/31/2016                6/30/16     Provider                                                                                FALSE       approximately:
M.D.                      Records                                University Hospand Clinic (pathology         000001
                                                                                                                                                         2005
                                                                 inventory).pdf




                                                                                                             USCA5 1480
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 84
                                                                               Filed 02/10/17    of 102
                                                                                              Page  84 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                Designation
                           Document      Date of     Source of                                                                     Under      Publically
    Expert     Date Sent                                                    Document Description                Bates Range                                   Comments
                            Category    Document     Document                                                                    Protective   Available
                                                                                                                                   Order
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 6260-                                              Date range
               10/31/2016                3/25/16                                                              006260 –                         FALSE
M.D.                      Records                    Produced    6288.pdf                                                                                  approximately:
                                                                                                              006288
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 6289-                                              Date range
               10/31/2016                5/2/16                                                               006289 –                         FALSE
M.D.                      Records                    Produced    6311.pdf                                                                                  approximately:
                                                                                                              006311
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 6312- SOrr-PPR-
               10/31/2016                10/6/16                                                                                               FALSE       approximately:
M.D.                      Records                    Produced    6313.pdf                                     006312-006313
                                                                                                                                                           2015
                                       02/29/2016;
                                       08/01/2016;                                                            SOrr-TI-RD-                                  Date range
Khatib, Sammy,            Medical                                Touro Infirmary (Radiology Department),
               10/31/2016              08/08/2016;   Provider                                                 000001 –                         FALSE       approximately:
M.D.                      Records                                SOrr - Tulane Infirmary (radiology).pdf
                                       08/09/2016;                                                            000016                                       2013-2014
                                        08/25/2016
                                                                                                               SOrr-QD-LA-                                 Date range
Khatib, Sammy,            Medical                                Quest Diagnostics, Inc., SOrr - Quest
               10/31/2016                2/24/16     Provider                                                  000001 –                        FALSE       approximately:
M.D.                      Records                                Diagnostics.pdf
                                                                                                               000012                                      2015
                                                                                                               SOrr-TI -BD-                                Date range
Khatib, Sammy,            Medical                                Touro Infirmary (Patient Accounts), SOrr -
               10/31/2016                3/1/16      Provider                                                  000001 –                        FALSE       approximately:
M.D.                      Records                                Tulane Infirmary (billing).pdf
                                                                                                               000009                                      2013-2014
                                                                 Quest Diagnostics-Southwest (Patient          SOrr-QDS-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                2/29/16     Provider    Billing), SOrr - Quest Diagnostics Southwest 000001 –                         FALSE       approximately:
M.D.                      Records
                                                                 (billing).pdf                                 000013                                      2015
                                                                                                               SOrr-SAScalco-                              Date range
Khatib, Sammy,            Medical        6/6/16;                 Scalco, Steven A., MD, SOrr - Scalco, Steven,
               10/31/2016                            Provider                                                  000001 –                        FALSE       approximately:
M.D.                      Records        6/10/16                 M.D.pdf
                                                                                                               000003                                      2014
                                       02/10/2016;
                                                                                                              SOrr-SHVC-                                   Date range
Khatib, Sammy,            Medical      02/16/2016;               Singer Haley Vision Center, SOrr - Singer
               10/31/2016                            Provider                                                 000001 –                         FALSE       approximately:
M.D.                      Records      03/28/2016;               Haley Vision.pdf
                                                                                                              000099                                       2013-2015
                                        08/25/2016
                                                                                                              SOrr-TI -PD-                                 Date range
Khatib, Sammy,            Medical                                Touro Infirmary (Pathology Department),
               10/31/2016                3/7/16      Provider                                                 000001 –                         FALSE       approximately:
M.D.                      Records                                SOrr - Tulane Infirmary (pathology).pdf
                                                                                                              000006                                       2014
                                                                                                              SOrr-PPR-
Khatib, Sammy,            Medical                    Plaintiff   Plaintiff Produced Records, SOrr – PPR 5998-                                              Date range
               10/31/2016                2/24/16                                                              005998 –                         FALSE
M.D.                      Records                    Produced    6214.pdf                                                                                  approximately:
                                                                                                              006214



                                                                                                               USCA5 1481
                              Case 2:14-md-02592-EEF-MBN
                         Case 2:14-md-02592-EEF-MBN      Document
                                                     Document      5399-18
                                                              5399-18      Filed 02/10/17
                                                                      *SEALED*             Page 85
                                                                                 Filed 02/10/17    of 102
                                                                                                Page  85 of 102
                                                                        Sammy Khatib, M.D.
                                                                         Reliance Material
                                                                                                                                  Designation
                             Document      Date of     Source of                                                                     Under      Publically
    Expert       Date Sent                                                   Document Description                 Bates Range                                   Comments
                              Category    Document     Document                                                                    Protective   Available
                                                                                                                                     Order
                                                                                                                                                             SOrr-TulaneH-BD-
                                                                                                                                                             000001 –
                                                                                                                 SOrr-TulaneH-
Khatib, Sammy,            Medical                                  Tulane Hospital (Patient Accounts) – Billing,                                             000111Date
               10/31/2016                  4/11/16     Provider                                                  BD-000001 –                     FALSE
M.D.                      Records                                  SOrr - Tulane Hospital (billing).pdf                                                      range
                                                                                                                 000111
                                                                                                                                                             approximately:
                                                                                                                                                             1999-2015
                                                                                                             SOrr-
                                                                                                                                                             Date range
Khatib, Sammy,            Medical        03/01/2016;               Cummings, Terry, M.D., SOrr -             TCummings-
               10/31/2016                              Provider                                                                                  FALSE       approximately:
M.D.                      Records         03/21/2016               Cummings,Terry, M.D..pdf                  000001 –
                                                                                                                                                             2008-2014
                                                                                                             000067
                                                                                                             JBoudreaux-
                                                                                                             OStAGH-MD-11,
                                                                   Ochsner Medical Center St. Anne Medicals, 13-14, 16, 29-
                                                                   partial of                                33, 54-55, 58 -                                 Date range
Khatib, Sammy,             Medical
                 11/4/2016                2/10/2016    Provider    750002_008_001_BoudreauxJrJosephJ_Ochs 59, 62-64, 70,                         FALSE       approximately:
M.D.                       Records
                                                                   nerStAnneGeneralHospMedRecsDept_0000 73-74, 111-112,                                      2014
                                                                   0001_00000750.pdf                         115, 250-252,
                                                                                                             267-268, 270,
                                                                                                             275, 307-309
                                                                                                                                                             Date range
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records (Providers       SOrr - PPR 6314-
               10/31/2016                 10/12/16                                                                                               FALSE       approximately:
M.D.                      Records                      Produced    Various), SOrr - PPR 6314-6323.pdf          6323
                                                                                                                                                             2015
                                                                                                               SOrr-UH-                                      Date range
Khatib, Sammy,            Medical                                  United Healthcare, SOrr - United
               10/31/2016                  8/5/16      Provider                                                000001 –                          FALSE       approximately:
M.D.                      Records                                  Healthcare.pdf
                                                                                                               000358                                        2010-2014
                                                                   Tulane University Hospital and Clinic
                                         07/06/2016;                                                      SOrr-TUHC-RD-                                      Date range
Khatib, Sammy,            Medical                                  (Radiology Department), SOrr - Tulane
               10/31/2016                08/23/2016;   Provider                                           000001 –                               FALSE       approximately:
M.D.                      Records                                  University Hospand Clinic (radiology
                                          08/24/2016                                                      000045                                             2008-2015
                                                                   inventory).pdf
                                                                   Ochsner Medical Center Kenner Billing,
                                                                                                                                                             Date range
Khatib, Sammy,            Medical                                  750002_014_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                  2/3/16      Provide                                                                                   FALSE       approximately:
M.D.                      Records                                  nerMedCtrKennerPatientAccts_00000001_0 OMC-K-BD-1-11
                                                                                                                                                             2014-2015
                                                                   0000011.pdf




                                                                                                                USCA5 1482
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 86
                                                                               Filed 02/10/17    of 102
                                                                                              Page  86 of 102
                                                                   Sammy Khatib, M.D.
                                                                    Reliance Material
                                                                                                                         Designation
                           Document     Date of   Source of                                                                 Under      Publically
    Expert     Date Sent                                                Document Description               Bates Range                                  Comments
                            Category   Document   Document                                                                Protective   Available
                                                                                                                            Order
                                                              Danilyants, Eduard M.D. - Touro Infirmary   SOrr-TI-MD-                               Date range
Khatib, Sammy,            Medical
               10/31/2016               3/1/16    Provider    (Medical Records Department), SOrr -        000001 –                      FALSE       approximately:
M.D.                      Records
                                                              Tulane Infirmary (medical).pdf              000199                                    2011-2014
                                                              Ochsner Medical Center Main Campus
                                                              Radiology,                                                                            Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              7/22/16    Provider    750002_049_003_BoudreauxJrJosephJ_Ochs                                    FALSE       approximately:
M.D.                      Records                                                                    OMC-RD-4-11
                                                              nerMedCtrRadDept_00000004_00000011.p                                                  2014-2015
                                                              df
                                                              Ochsner Medical Center Main Campus
                                                              Radiology,                                                                            Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              7/25/16    Provider    750002_049_004_BoudreauxJrJosephJ_Ochs                                    FALSE       approximately:
M.D.                      Records                                                                    OMC-RD-12
                                                              nerMedCtrRadDept_00000012_00000012.p                                                  2014-2015
                                                              df
                                                              Ochsner Medical Center Main Campus
                                                              Pathology,                                                                            Certificate of no
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              3/14/16    Provider    750002_050_001_BoudreauxJrJosephJ_Ochs                                    FALSE       pathology
M.D.                      Records                                                                    OMC-PD-1
                                                              nerMedCtrPathDept_00000001_00000001.p                                                 records.
                                                              df
                                                              Ochsner Medical Center St. Anne Radiology,
                                                                                                                                                    Date range
Khatib, Sammy,            Medical                             750002_010_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016               2/4/16    Provider                                                                              FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospRadDept_00000001_ OStAGH-RD-1-2
                                                                                                                                                    2012-2015
                                                              00000002.pdf

                                                              Ochsner Medical Center St. Anne Radiology,
                                                                                                                                                    Date range
Khatib, Sammy,            Medical                             750002_010_002_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016               8/9/16    Provider                                                                              FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospRadDept_00000003_ OStAGH-RD-3-12
                                                                                                                                                    2014-2015
                                                              00000012.pdf

                                                              Ochsner Medical Center St. Anne Radiology,
                                                                                                                                                    Date range
Khatib, Sammy,            Medical                             750002_010_003_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016               8/9/16    Provider                                                                              FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospRadDept_00000013_ OStAGH-RD-13
                                                                                                                                                    2014-2015
                                                              00000013.pdf




                                                                                                          USCA5 1483
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 87
                                                                               Filed 02/10/17    of 102
                                                                                              Page  87 of 102
                                                                  Sammy Khatib, M.D.
                                                                   Reliance Material
                                                                                                                       Designation
                           Document     Date of   Source of                                                               Under      Publically
    Expert     Date Sent                                               Document Description             Bates Range                                  Comments
                            Category   Document   Document                                                              Protective   Available
                                                                                                                          Order
                                                              Ochsner Medical Center St. Anne Pathology,
                                                                                                                                                  Date range
Khatib, Sammy,            Medical                             750002_011_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016              2/29/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospPathDept_00000001 OStAGH-PD-1
                                                                                                                                                  2015
                                                              _00000001.pdf

                                                              Ochsner Medical Center St. Anne Medicals,
                                                                                                                                                  Date range
Khatib, Sammy,            Medical                             750002_039_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016              2/10/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                             nerStAnneMedClinic_00000001_00000280.p OStAMC-1-280
                                                                                                                                                  2009-2013
                                                              df
                                                              Ochsner Medical Center Main Campus
                                                              Radiology,                                                                          Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              3/16/16    Provider    750002_049_001_BoudreauxJrJosephJ_Ochs                                  FALSE       approximately:
M.D.                      Records                                                                    OMC-RD-1-2
                                                              nerMedCtrRadDept_00000001_00000002.p                                                2015
                                                              df
                                                              Ochsner Medical Center Kenner Medicals,
                                                                                                      JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                             750002_013_001_BoudreauxJrJosephJ_Ochs
               10/31/2016               2/3/16    Provider                                            OMC-K-MD-1-                     FALSE       approximately:
M.D.                      Records                             nerMedCtrKennerMedRecsDept_00000001_
                                                                                                      531                                         2014
                                                              00000531.pdf
                                                              Ochsner Medical Center Main Campus
                                                              Billing,                                                                            Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              4/12/16    Provider    750002_048_001_BoudreauxJrJosephJ_Ochs                                  FALSE       approximately:
M.D.                      Records                                                                    OMC-BD-1-3
                                                              nerMedCtrPatientAccts_00000001_0000000                                              2009-2013
                                                              3.pdf
                                                              Ochsner Medical Center Kenner, Radiology,
                                                                                                                                                  Date range
Khatib, Sammy,            Medical                             750002_015_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016               2/2/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                             nerMedCtrKennerRadDept_00000001_0000 OMC-K-RD-1-2
                                                                                                                                                  2014
                                                              0002.pdf

                                                              Ochsner Medical Center St. Anne Medicals,
                                                                                                        JBoudreaux-                               Date range
Khatib, Sammy,            Medical                             750002_008_001_BoudreauxJrJosephJ_Ochs
               10/31/2016              2/10/16    Provider                                              OStAGH-MD-1-                  FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospMedRecsDept_0000
                                                                                                        750                                       2014-2015
                                                              0001_00000750.pdf




                                                                                                       USCA5 1484
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 88
                                                                               Filed 02/10/17    of 102
                                                                                              Page  88 of 102
                                                                  Sammy Khatib, M.D.
                                                                   Reliance Material
                                                                                                                       Designation
                           Document     Date of   Source of                                                               Under      Publically
    Expert     Date Sent                                               Document Description              Bates Range                                  Comments
                            Category   Document   Document                                                              Protective   Available
                                                                                                                          Order
                                                              Ochsner Medical Center St. Anne Medicals,
                                                                                                        JBoudreaux-                               Date range
Khatib, Sammy,            Medical                             750002_008_001_BoudreauxJrJosephJ_Ochs
               10/31/2016              2/10/16    Provider                                              OStAGH-MD-                    FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospMedRecsDept_0000
                                                                                                        751-982                                   2012-2015
                                                              0751_00000982.pdf

                                                              Ochsner Medical Center St. Anne Medicals,
                                                                                                        JBoudreaux-                               Certificate of
Khatib, Sammy,            Medical                             750002_008_002_BoudreauxJrJosephJ_Ochs
               10/31/2016              2/17/16    Provider                                              OStAGH-MD-                    FALSE       medical records
M.D.                      Records                             nerStAnneGeneralHospMedRecsDept_0000
                                                                                                        983                                       received.
                                                              0983_00000983.pdf

                                                              Ochsner Medical Center St. Anne Billing,
                                                                                                                                                  Date range
Khatib, Sammy,            Medical                             750002_009_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016              2/10/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                             nerStAnneGeneralHospPatientAccts_000000 OStAGH-BD-1-68
                                                                                                                                                  2009-2016
                                                              01_00000068.pdf

                                                              Ochsner Medical Center St. Anne Billing,
                                                                                                                                                  Certificate of
Khatib, Sammy,            Medical                             750002_009_002_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016              2/17/16    Provider                                                                            FALSE       billing records
M.D.                      Records                             nerStAnneGeneralHospPatientAccts_000000 OStAGH-BD-69
                                                                                                                                                  received.
                                                              69_00000069.pdf
                                                              Ochsner Medical Center St. Anne,
                                                                                                     JBoudreaux-                                  Date range
Khatib, Sammy,            Medical                             750002_055_001_BoudreauxJrJosephJ_Ochs
               10/31/2016               5/9/16    Provider                                           OStAFDC-M-1-                     FALSE       approximately:
M.D.                      Records                             nerStAnneFamilyDrClinicMathews_0000000
                                                                                                     493                                          2014-2016
                                                              1_00000493.pdf
                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                 Date range
               10/31/2016               3/7/16                                                                                        FALSE
M.D.                      Records                 Produced    750002_003_005_BoudreauxJrJosephJ_Plain PPR-3962-3965                               approximately:
                                                              tiffProducedRecs_00003962_00003965.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                 Date range
               10/31/2016              7/20/16                                                                                        FALSE
M.D.                      Records                 Produced    750002_003_011_BoudreauxJrJosephJ_Plain PPR-5234-5287                               approximately:
                                                              tiffProducedRecs_00005234_00005287.pdf




                                                                                                       USCA5 1485
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 89
                                                                               Filed 02/10/17    of 102
                                                                                              Page  89 of 102
                                                                  Sammy Khatib, M.D.
                                                                   Reliance Material
                                                                                                                      Designation
                           Document     Date of   Source of                                                              Under      Publically
    Expert     Date Sent                                               Document Description             Bates Range                                  Comments
                            Category   Document   Document                                                             Protective   Available
                                                                                                                         Order
                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016              3/24/16                                                                                       FALSE
M.D.                      Records                 Produced    750002_003_007_BoudreauxJrJosephJ_Plain PPR-3967-4484                              approximately:
                                                              tiffProducedRecs_00003967_00004484.pdf

                                                              Ochsner Medical Center St. Anne Medicals,
                                                                                                        JBoudreaux-
Khatib, Sammy,            Medical                             750002_039_002_BoudreauxJrJosephJ_Ochs                                             Certification of
               10/31/2016              2/17/16    Provider                                              OStAMC-281-                  FALSE
M.D.                      Records                             nerStAnneMedClinic_00000281_00000282.p                                             medical records
                                                                                                        282
                                                              df
                                                              Ochsner Medical Center Main Campus
                                                              Radiology,                                                                         Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              7/22/16    Provider    750002_049_002_BoudreauxJrJosephJ_Ochs                                 FALSE       approximately:
M.D.                      Records                                                                    OMC-RD-3
                                                              nerMedCtrRadDept_00000003_00000003.p                                               2014-2015
                                                              df
                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016              1/20/16                                                                                       FALSE
M.D.                      Records                 Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-751-1500                               approximately:
                                                              tiffProducedRecs_00000751_00001500.pdf

                                                              Medicare/Medicaid,
Khatib, Sammy,            Medical                             750002_036_001_BoudreauxJrJosephJ_Ctrsf JBoudreaux-                                Certification of no
               10/31/2016              4/13/16    Provider                                                                           FALSE
M.D.                      Records                             orMedicareandMedicaidSvcsLegalDeptPriva CMMS-R6-1                                  records.
                                                              cyOffice_00000001_00000001.pdf
                                                              Ochsner - Dr. Katherine Baumgarten,
                                                                                                    JBoudreauxJr-
Khatib, Sammy,            Medical                             750002_067_001_BoudreauxJrJosephJ_Bau                                              Certificate of no
               10/31/2016              8/31/16    Provider                                          KBaumgarten-1-                   FALSE
M.D.                      Records                             mgartenKatherineMD_00000001_00000002.                                              records.
                                                                                                    2
                                                              pdf
                                                              Ochsner Medical Center Kenner Radiology,
Khatib, Sammy,            Medical                                                                      JBoudreaux-                               Certificate of no
               10/31/2016              9/27/16    Provider    750002_015_002_OchsnerMedCtrKennerRa                                   FALSE
M.D.                      Records                                                                      OMC-K-RD-3                                radiology.
                                                              dDept_00000003_00000003.pdf




                                                                                                       USCA5 1486
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 90
                                                                               Filed 02/10/17    of 102
                                                                                              Page  90 of 102
                                                                   Sammy Khatib, M.D.
                                                                    Reliance Material
                                                                                                                              Designation
                           Document     Date of   Source of                                                                      Under      Publically
    Expert     Date Sent                                                Document Description                 Bates Range                                    Comments
                            Category   Document   Document                                                                     Protective   Available
                                                                                                                                 Order
                                                              Ochsner Medical Center Kenner Radiology,                                                   Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016              9/29/16    Provider    750002_015_003_OchsnerMedCtrKennerRa                                           FALSE       approximately:
M.D.                      Records                                                                      OMC-K-RD-4
                                                              dDept_00000004_00000004.pdf                                                                2014

                                                              Ochsner Medical Center Kenner Radiology,                                                   Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016              9/29/16    Provider    750002_015_004_OchsnerMedCtrKennerRa                                           FALSE       approximately:
M.D.                      Records                                                                      OMC-K-RD-5-7
                                                              dDept_00000005_00000007.pdf                                                                2014
                                                              Ochsner Medical Center Main Campus
                                                              Medicals,                                                                                  Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016               4/1/16    Provider    750002_047_001_BoudreauxJrJosephJ_Ochs                                         FALSE       approximately:
M.D.                      Records                                                                    OMC-MD-1-13
                                                              nerMedCtrReleaseofInformation_00000001                                                     2014
                                                              _00000013.pdf
                                                              Ochsner St. Anne Family Doctor Clinic – Dr.   750002_019_00
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                             A. Duplantis Clinic Records,                  5_DuplantisAndr
               10/31/2016              10/20/16   Provider                                                                                   FALSE       approximately:
M.D.                      Records                             750002_019_005_DuplantisAndreMD_0000          eMD_00000465
                                                                                                                                                         2016
                                                              0465_00000499.pdf                             _00000499
                                                              Thibodeaux Regional Billing,
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                             750002_061_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016              7/11/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrPatientAccts_0000000 TRMC-BD-1-2
                                                                                                                                                         2009-2014
                                                              1_00000002.pdf
                                                              Thibodeaux Regional Pathology,
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                             750002_062_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016               6/2/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrPathDept_00000001_ TRMC-PD-1
                                                                                                                                                         2009
                                                              00000001.pdf
                                                              Thibodeaux Regional Radiology,
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                             750002_063_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016              5/26/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrRadDept_00000001_0 TRMC-RD-1
                                                                                                                                                         2014
                                                              0000001.pdf
                                                              Thibodeaux Regional Radiology,
                                                                                                                                                         Date range
Khatib, Sammy,            Medical                             750002_063_002_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016               6/2/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrRadDept_00000002_0 TRMC-RD-2
                                                                                                                                                         2014
                                                              0000002.pdf




                                                                                                            USCA5 1487
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 91
                                                                               Filed 02/10/17    of 102
                                                                                              Page  91 of 102
                                                                   Sammy Khatib, M.D.
                                                                    Reliance Material
                                                                                                                             Designation
                           Document     Date of   Source of                                                                     Under      Publically
    Expert     Date Sent                                                Document Description                 Bates Range                                   Comments
                            Category   Document   Document                                                                    Protective   Available
                                                                                                                                Order
                                                              Thibodeaux Regional Radiology,
                                                                                                                                                        Date range
Khatib, Sammy,            Medical                             750002_063_003_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016              7/18/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrRadDept_00000003_0 TRMC-RD-3
                                                                                                                                                        2014
                                                              0000003.pdf
                                                              Thibodeaux Regional Radiology,
Khatib, Sammy,            Medical                             750002_063_004_BoudreauxJrJosephJ_Thib JBoudreaux-                                        Certificate of
               10/31/2016               8/4/16    Provider                                                                                  FALSE
M.D.                      Records                             odauxRegionalMedCtrRadDept_00000004_0 TRMC-RD-4                                           records received.
                                                              0000004.pdf
                                                              Thibodeaux Regional Radiology,
                                                                                                                                                        Date range
Khatib, Sammy,            Medical                             750002_063_005_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016               8/5/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrRadDept_00000005_0 TRMC-RD-5
                                                                                                                                                        2014
                                                              0000005.pdf
                                                              Thibodeaux Regional Radiology,
                                                                                                                                                        Date range
Khatib, Sammy,            Medical                             750002_063_006_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016               8/8/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrRadDept_00000006_0 TRMC-RD-6
                                                                                                                                                        2014
                                                              0000006.pdf
                                                              Thibodeaux Surgical Specialists - Dr. William
                                                                                                            JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                             Bisland,
               10/31/2016               5/6/16    Provider                                                  WBBislandJr-1-                  FALSE       approximately:
M.D.                      Records                             750002_056_001_BoudreauxJrJosephJ_Bisla
                                                                                                            16                                          2015
                                                              ndWilliamBJrMD_00000001_00000016.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                       Date range
               10/31/2016              3/25/16                                                                                              FALSE
M.D.                      Records                 Produced    750002_003_008_BoudreauxJrJosephJ_Plain PPR-4485-5047                                     approximately:
                                                              tiffProducedRecs_00004485_00005047.pdf
                                                              Pharmacy records of Wal-Mart,
                                                                                                                                                        Date range
Khatib, Sammy,            Medical                             750002_051_001_BoudreauxJrJosephJ_Wal JBoudreaux-
               10/31/2016              4/12/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                             MartStoresIncPharmacy_00000001_000000 WMS-1-5
                                                                                                                                                        1997-2016
                                                              05.pdf
                                                              Thibodeaux Regional Medicals,
                                                                                                                                                        Date range
Khatib, Sammy,            Medical                             750002_060_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016               6/2/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                             odauxRegionalMedCtrMedRecsDept_00000 TRMC-MD-1-11
                                                                                                                                                        2009-2014
                                                              001_00000011.pdf




                                                                                                           USCA5 1488
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 92
                                                                               Filed 02/10/17    of 102
                                                                                              Page  92 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                               Designation
                           Document      Date of     Source of                                                                    Under      Publically
    Expert     Date Sent                                                   Document Description                 Bates Range                                  Comments
                            Category    Document     Document                                                                   Protective   Available
                                                                                                                                  Order
                                                                                                           750002_025_00
                                                                 Cardiovascular Institute of the South     4_Cardiovascula
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                                Houma Clinic Records,                     rInstituteoftheS
               10/31/2016               10/12/16     Provider                                                                                 FALSE       approximately:
M.D.                      Records                                750002_025_004_CardiovascularInstituteoft outhHouma_00
                                                                                                                                                          2016
                                                                 heSouthHouma_00000501_00000571.pdf        000501_000005
                                                                                                           71
                                                                                                           750002_035_00
                                                                 Pharmacy Records of Rouses,                                                              Date range
Khatib, Sammy,            Medical                                                                          4_RousesPharm
               10/31/2016               10/12/16     Provider    750002_035_004_RousesPharmacy_000000                                         FALSE       approximately:
M.D.                      Records                                                                          acy_00000081_
                                                                 81_00000100.pdf                                                                          2015-2016
                                                                                                           00000100
                                       02/04/2016;               Academic Dermatology Associates -            SOrr-AcadDerm                               Date range
Khatib, Sammy,            Medical
               10/31/2016              05/04/2016;   Provider    Matherne, Ryan J. MD, SOrr - Academic        000001 –                        FALSE       approximately:
M.D.                      Records
                                        05/09/2016               Dermatology.pdf                              000022                                      2014-2015
                                                                                                                SOrr-AAS-                                 Date range
Khatib, Sammy,            Medical       02/29/16;                Acadian Ambulance Service, SOrr - Acadian
               10/31/2016                            Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records      04/06/2016                Ambulance.pdf
                                                                                                                000010                                    2015
                                                                 Ambulatory Eye Surgery Center of Louisiana SOrr-AESCL-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                2/8/16      Provider    - Brint, Stephen F., MD, SOrr - Ambulatory 000001 –                          FALSE       approximately:
M.D.                      Records
                                                                 Eye Surgery Center.pdf                         000077                                    2013
                                                                                                                SOrr-
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                                American Memorial Life, SOrr - American        AmeMemLife-
               10/31/2016                5/4/16      Provider                                                                                 FALSE       approximately:
M.D.                      Records                                Memorial Life.pdf                              000001 –
                                                                                                                                                          2012-2015
                                                                                                                000142
                                       04/12/2016;                                                              SOrr-StEP-                                Date range
Khatib, Sammy,            Medical                                Beeman, Chad MD - St. Elizabeth Physicians,
               10/31/2016              07/18/2016;   Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records                                SOrr - St Elizabeth Physicians.pdf
                                        07/27/2016                                                              000061                                    2005-2008
                                                                                                                SOrr-DCasey-                              Date range
Khatib, Sammy,            Medical                                Casey, Dennis, M.D., SOrr - Casey, Dennis,
               10/31/2016                6/21/16     Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records                                M.D.pdf
                                                                                                                000010                                    2005-2009
                                                                                                                SOrr-FCruz-                               Date range
Khatib, Sammy,            Medical                                Cruz, Francisco, M.D., SOrr - Cruz, Francisco,
               10/31/2016                3/10/16     Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records                                M.D.pdf
                                                                                                                000180                                    2013-2015




                                                                                                              USCA5 1489
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 93
                                                                               Filed 02/10/17    of 102
                                                                                              Page  93 of 102
                                                                   Sammy Khatib, M.D.
                                                                    Reliance Material
                                                                                                                         Designation
                           Document     Date of   Source of                                                                 Under      Publically
    Expert     Date Sent                                                Document Description               Bates Range                                  Comments
                            Category   Document   Document                                                                Protective   Available
                                                                                                                            Order
                                                              University Health Shreveport,
Khatib, Sammy,            Medical                             750002_059_001_BoudreauxJrJosephJ_Univ JBoudreaux-                                    Certificate of no
               10/31/2016              5/18/16    Provider                                                                              FALSE
M.D.                      Records                             HealthShreveportMedRecsDept_00000001_ UniHShrev-1                                     records
                                                              00000001.pdf
                                                              Pharmacy records of Rouses,                                                           Date range
Khatib, Sammy,            Medical                                                                    JBoudreaux-
               10/31/2016              3/18/16    Provider    750002_035_002_BoudreauxJrJosephJ_Rous                                    FALSE       approximately:
M.D.                      Records                                                                    RousesPh-15-79
                                                              esPharmacy_00000015_00000079.pdf                                                      2012-2015
                                                                                                          SOrr-CVS-                                 Date range
Khatib, Sammy,            Medical
               10/31/2016              2/24/16    Provide     CVS Pharmacy, Inc., SOrr - CVS Pharmacy.pdf 000001 –                      FALSE       approximately:
M.D.                      Records
                                                                                                          000028                                    2005-2015
                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016              1/20/16                                                                                          FALSE
M.D.                      Records                 Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-3001-3750                                 approximately:
                                                              tiffProducedRecs_00003001_00003750.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016              1/20/16                                                                                          FALSE
M.D.                      Records                 Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-3751-3845                                 approximately:
                                                              tiffProducedRecs_00003751_00003845.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016              2/22/16                                                                                          FALSE
M.D.                      Records                 Produced    750002_003_003_BoudreauxJrJosephJ_Plain PPR-3857                                      approximately:
                                                              tiffProducedRecs_00003857_00003857.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016              2/24/16                                                                                          FALSE
M.D.                      Records                 Produced    750002_003_004_BoudreauxJrJosephJ_Plain PPR-3858-3961                                 approximately:
                                                              tiffProducedRecs_00003858_00003961.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016              4/20/16                                                                                          FALSE
M.D.                      Records                 Produced    750002_003_009_BoudreauxJrJosephJ_Plain PPR-5048-5117                                 approximately:
                                                              tiffProducedRecs_00005048_00005117.pdf



                                                                                                          USCA5 1490
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 94
                                                                               Filed 02/10/17    of 102
                                                                                              Page  94 of 102
                                                                      Sammy Khatib, M.D.
                                                                       Reliance Material
                                                                                                                                  Designation
                           Document      Date of     Source of                                                                       Under      Publically
    Expert     Date Sent                                                    Document Description                  Bates Range                                    Comments
                            Category    Document     Document                                                                      Protective   Available
                                                                                                                                     Order
                                                                 Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                    Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                1/20/16                                                                                                 FALSE
M.D.                      Records                    Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-1501-2250                                       approximately:
                                                                 tiffProducedRecs_00001501_00002250.pdf

                                                                 Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                    Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                1/20/16                                                                                                 FALSE
M.D.                      Records                    Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-2251-3000                                       approximately:
                                                                 tiffProducedRecs_00002251_00003000.pdf

                                                                 Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                    Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                2/11/16                                                                                                 FALSE
M.D.                      Records                    Produced    750002_003_002_BoudreauxJrJosephJ_Plain PPR-3846-3856                                       approximately:
                                                                 tiffProducedRecs_00003846_00003856.pdf

                                                                 Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                    Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                3/10/16                                                                                                 FALSE
M.D.                      Records                    Produced    750002_003_006_BoudreauxJrJosephJ_Plain PPR-3966                                            approximately:
                                                                 tiffProducedRecs_00003966_00003966.pdf

                                                                                                                 SOrr-                                       Date range
Khatib, Sammy,            Medical      03/09/2016;               St. Martin, Maurice E., Jr., M.D., SOrr - St.
               10/31/2016                            Provider                                                    MEStMartinJr-                   FALSE       approximately:
M.D.                      Records       05/20/2016               Martin, Maurice, M.D..pdf
                                                                                                                 000001 – 00346                              2011-2015

                                                                 Pharmacy Records of Rouses,
Khatib, Sammy,            Medical                                                                       JBoudreaux-                                          Date range
               10/31/2016                2/1/16      Provider    750002_035_001_BoudreauxJrJosephJ_Rous                                          FALSE
M.D.                      Records                                                                       RousesPh-1-14                                        approximately:
                                                                 esPharmacy_00000001_00000014.pdf
                                                                 Thibodeaux Regional Medicals,
Khatib, Sammy,            Medical                                750002_060_003_BoudreauxJrJosephJ_Thib JBoudreaux-                                          Certificate of
               10/31/2016                6/21/16     Provider                                                                                    FALSE
M.D.                      Records                                odauxRegionalMedCtrMedRecsDept_00000 TRMC-MD-13                                             records received
                                                                 013_00000013.pdf
                                                                 Pharmacy Records of Rouses,
Khatib, Sammy,            Medical                                                                       JBoudreaux-                                          Certificate of no
               10/31/2016                4/6/16      Provider    750002_035_003_BoudreauxJrJosephJ_Rous                                          FALSE
M.D.                      Records                                                                       RousesPh-80                                          records
                                                                 esPharmacy_00000080_00000080.pdf



                                                                                                                 USCA5 1491
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 95
                                                                               Filed 02/10/17    of 102
                                                                                              Page  95 of 102
                                                                  Sammy Khatib, M.D.
                                                                   Reliance Material
                                                                                                                      Designation
                           Document     Date of   Source of                                                              Under      Publically
    Expert     Date Sent                                               Document Description             Bates Range                                 Comments
                            Category   Document   Document                                                             Protective   Available
                                                                                                                         Order
                                                              Southeast Louisiana Veterans Health Care
                                                              System,
                                                                                                       JBoudreaux-                               Date range
Khatib, Sammy,            Medical                             750002_031_001_BoudreauxJrJosephJ_Sout
               10/31/2016              2/25/16    Provider                                             SLVHCS-MD-1-                  FALSE       approximately:
M.D.                      Records                             heastLouisianaVeteransHealthCareSystemRe
                                                                                                       112                                       2002-2008
                                                              leaseofInformation_00000001_00000112.pd
                                                              f
                                                              Southeast Louisiana Veterans Health Care
                                                              System Radiology,                                                                  Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016              2/11/16    Provider    750002_033_001_BoudreauxJrJosephJ_Sout                                 FALSE       approximately:
M.D.                      Records                                                                      SLVHCS-RD-1
                                                              heastLouisianaVeteransHealthCareSystemRa                                           2005
                                                              dDept_00000001_00000001.pdf

                                                              Southeast Louisiana Veterans Health Care
                                                              System Radiology,                                                                  Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016              7/14/16    Provider    750002_033_002_BoudreauxJrJosephJ_Sout                                 FALSE       approximately:
M.D.                      Records                                                                      SLVHCS-RD-2
                                                              heastLouisianaVeteransHealthCareSystemRa                                           2005
                                                              dDept_00000002_00000002.pdf
                                                              Terrebonne General Medicals,
                                                                                                     JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                             750002_027_001_BoudreauxJrJosephJ_Terr
               10/31/2016              4/13/16    Provider                                           TGMC-MD-1-                      FALSE       approximately:
M.D.                      Records                             ebonneGeneralMedCtrMedRecsDept_00000
                                                                                                     750                                         2015
                                                              001_00000750.pdf
                                                              Terrebonne General Medicals,
                                                                                                     JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                             750002_027_001_BoudreauxJrJosephJ_Terr
               10/31/2016              4/13/16    Provider                                           TGMC-MD-751-                    FALSE       approximately:
M.D.                      Records                             ebonneGeneralMedCtrMedRecsDept_00000
                                                                                                     1180                                        2015
                                                              751_00001180.pdf
                                                              Terrebonne General Medicals,
                                                                                                     JBoudreaux-
Khatib, Sammy,            Medical                             750002_027_002_BoudreauxJrJosephJ_Terr                                             Date range
               10/31/2016               8/5/16    Provider                                           TGMC-MD-                        FALSE
M.D.                      Records                             ebonneGeneralMedCtrMedRecsDept_00001                                               approximately:
                                                                                                     1181-1295
                                                              181_00001295.pdf
                                                              Terrebonne General Billing,
                                                                                                                                                 Date range
Khatib, Sammy,            Medical                             750002_028_001_BoudreauxJrJosephJ_Terr JBoudreaux-
               10/31/2016              4/13/16    Provider                                                                           FALSE       approximately:
M.D.                      Records                             ebonneGeneralMedCtrPatientAccts_000000 TGMC-BD-1-12
                                                                                                                                                 2015
                                                              01_00000012.pdf




                                                                                                       USCA5 1492
                            Case 2:14-md-02592-EEF-MBN
                       Case 2:14-md-02592-EEF-MBN      Document
                                                   Document      5399-18
                                                            5399-18      Filed 02/10/17
                                                                    *SEALED*             Page 96
                                                                               Filed 02/10/17    of 102
                                                                                              Page  96 of 102
                                                                  Sammy Khatib, M.D.
                                                                   Reliance Material
                                                                                                                      Designation
                           Document     Date of   Source of                                                              Under      Publically
    Expert     Date Sent                                               Document Description            Bates Range                                  Comments
                            Category   Document   Document                                                             Protective   Available
                                                                                                                         Order
                                                              Terrebonne General Pathology,
                                                                                                                                                 Date range
Khatib, Sammy,            Medical                             750002_030_001_BoudreauxJrJosephJ_Terr JBoudreaux-
               10/31/2016               2/1/16    Provider                                                                           FALSE       approximately:
M.D.                      Records                             ebonneGeneralMedCtrPathDept_00000001 TGMC-PD-1
                                                                                                                                                 2015
                                                              _00000001.pdf
                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016              1/20/16                                                                                       FALSE
M.D.                      Records                 Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-1-750                                  approximately:
                                                              tiffProducedRecs_00000001_00000750.pdf

                                                              Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                 Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016              7/11/16                                                                                       FALSE
M.D.                      Records                 Produced    750002_003_010_BoudreauxJrJosephJ_Plain PPR-5118-5233                              approximately:
                                                              tiffProducedRecs_00005118_00005233.pdf




                                                                                                      USCA5 1493
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 97
                                                        Filed 02/10/17    of 102
                                                                       Page  97 of 102




                               EXHIBIT “B”




                                                                             USCA5 1494
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 98
                                                        Filed 02/10/17    of 102
                                                                       Page  98 of 102




                           CURRICULUM VITAE


                           SAMMY KHATIB, M.D.




       EMPLOYMENT:

             2014-Present Vice Chairman, Cardiology
                          Department of Cardiology
                          John Ochsner Heart and Vascular Institute

             2011-Present Section Head, Electrophysiology
                          Department of Cardiology
                          John Ochsner Heart and Vascular Institute
                          New Orleans, LA

             2012-Present Program Director, Clinical Cardiac Electrophysiology Fellowship
                          John Ochsner Heart and Vascular Institute
                          New Orleans, LA

             2008-2011     Staff Physician - Electrophysiology
                           Department of Cardiology
                           John Ochsner Heart and Vascular Institute
                           New Orleans, LA

             2007-2008    Clinical Lecturer
                          University of Florida at Shands Hospital
                          Gainesville, FL

       POST-GRADUATE TRAINING:

             2006-2007     Cardiovascular Electrophysiology Fellowship Program
                           University of Florida at Shands Hospital
                           Gainesville, FL

             2003-2006    General Cardiovascular Medicine Fellowship Program
                          Ochsner Clinic Foundation, New Orleans, LA

             1999-2002:    Categorical Internal Medicine Residency Program
                           Georgetown University Medical Center, Washington D.C.




                                                                                            USCA5 1495
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 99
                                                        Filed 02/10/17    of 102
                                                                       Page  99 of 102



       EDUCATION:

             1995-1999:    Wayne State University School of Medicine
                           Detroit, Michigan
                           Doctor of Medicine

             1991-1995:    Duke University
                           Durham, North Carolina
                           Bachelor of Science, Cum Laude




       HONORS/AWARDS:

             2010, 2011:   Mentor of the Year, Ochsner Clinic Foundation, Department of
                           Cardiology

             2008:         Excellence in Teaching, University of Florida, Department of
                           Medicine

             2004:         Herman L Price, M.D. Clinical Excellence in Heart Failure Award

             2001:         Resident “Pearl” Award
                                  Awarded by 3rd yr medical students for excellence in
                                  student teaching

             1999:         Alpha Omega Alpha
                           Wayne State University School of Medicine




       ABSTRACTS/PUBLICATIONS:


             Menezes AR, Lavie CJ, Dinicolantonio JJ, O'Keefe J, Morin DP, Khatib S, Milani
             RV. Atrial fibrillation in the 21st Century: a current understanding of the risk
             factors and primary prevention strategies. Mayo Clin Proc. 2013 Apr; 88 (4):
             394-409

             Menezes AR, Artham S, Lavie CJ, Khatib S. Anticoagulation strategies in atrial
             fibrillation. Rev Cardiovasc Med. 2012; 13(1):e1-13

             Morin DP, Saad MN, Shams OF, Owen JS, Xue JQ, Abi-Samra FM, Khatib S,
             Nelson-Twakor OS, Milani RV. Relationships between the T-peak to T-end



                                                                                              USCA5 1496
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 100
                                                        Filed 02/10/17 Pageof100
                                                                              102of 102




             interval, ventricular tachyarrhythmia, and death in left ventricular systolic
             dysfunction. Europace 2012 Aug; 14(8): 1172-9

             Awerbach JD, Khatib S, Moodie DS, Snyder CS. Atrial ectopic tachycardia in a
             patient with marfan syndrome. Ochsner J 2011 Summer; 11(2):125-7

             Morin DP, Parker H, Khatib S, Dinshaw H. Computed Tomography of a
             Coronary Sinus Diverticulum Associated with Wolff-Parkinson-White Syndrome.
             Heart Rhythm 2012 Aug; 9(8): 1338-9

             Owen JS, Khatib S, Morin DP. Cardiac Resynchronization Therapy. Ochsner J
             2009; 9:248-56.

             Saad MN, Morin DP, Khatib S, Atrial Fibrillation: Current Perspective. Ochsner
             J 2009; 9:241-7

             Williams CS, Khatib S, Dorotan-Guevara MM. Snyder CS. Induction of Left
             Ventricular Fascicular Tachycardia with Trans-Esophageal Pacing in a Toddler,
             Congenital Heart Disease 2010 May-June; 5(3): 312-315.

             Shams OF, Owen JS, Saad MN, Xue J, Abi-Samra FM, Khatib S, Nelson-Twakor
             OS, Morin DP. In Cardiomyopathy, A Longer Tpeak-Tend Interval Correlates
             with Depressed Ejection Fraction, But Not With Other Left Ventricular
             Measurements. Poster, Heart Rhythm Society Scientific Sessions, 2011.

             Shams OF, Owen JS, Saad MN, Khatib S, Xue J, Rubiano A, Yarbrough J, Morin
             DP, Among Several Surface ECG Measurements and Clinical Indicators, only
             Tpeak-Tend and Cornell Voltage Predict Appropriate ICD Therapy in Patients
             With Ischemic Cardiomyopathy. Oral presentation, American Heart Association
             Scientific Sessions, 2010.

             Saad MN, Shams OF, Rubiano A, Yarbrough J, Xue J, Khatib S, Morin DP. In
             Ischemic Cardiomyopathy with Reduced Ejection Fraction, the Interval between T
             wave Peak and T wave End Predicts Both Appropriate ICD Therapy and Overall
             Mortality. Oral Presentation, Heart Rhythm Society Annual Meeting, 2010.

             Berman AE, Khatib S, Donahue T, Breburda CS. Global Systolic and Diastolic
             Doppler Tissue Imaging Acceleration Intervals: New Discriminators Between
             Atrial Fibrillation and Sinus Rhythm. Poster presentation at NASPE 25th Annual
             Scientific Sessions, May 2004.

             Berman AE, Khatib S, Donahue T, Breburda CS. Left Anterior Hemiblock is
             Associated with Intraventricular Dyssynchrony in the Presence of a Normal QRS
             Duration. Poster presentation at American Society of Echocardiography
             Scientific Session, June 2004.




                                                                                              USCA5 1497
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 101
                                                        Filed 02/10/17 Pageof101
                                                                              102of 102




             Berman AE, Khatib S, Mehra M. Doppler Tissue Imaging characteristics of
             Stable Heart Transplant Recipients. Poster presentation at Heart Failure Society
             of America Scientific Sessions, September 2004.

             Khatib R, Riederer KM, Clark JA, Khatib S, Briski LE, Wilson FM.
             Coagulase-negative staphylococci in multiple blood cultures: strain relatedness
             and determinants of same strain bacteremia. J Clin Microbiol. 1995
             Apr;33(4):816-20.




                                                                                                USCA5 1498
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-18
                                     5399-18      Filed 02/10/17
                                             *SEALED*             Page 102
                                                        Filed 02/10/17 Pageof102
                                                                              102of 102




                                        TESTIMONIAL HISTORY


          I have not testified in the last four years.




                                                                              USCA5 1499
